       CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 1 of 142
                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Kenneth P. Kellogg, Rachel Kellogg               Court File No.________________
and Kellogg Farms, Inc., Roland B. Bromley
and Bromley Ranch, LLC, individually, and
on behalf of all others similarly situated,

                                 Plaintiffs,

v.

Watts Guerra, LLP, Daniel M.
Homolka, P.A., Yira Law Office LTD,
Hovland and Rasmus, PLLC, Dewald Deaver,
P.C., LLO, Givens Law, LLC, Mauro, Archer
& Associates, LLC, Johnson Law Group,
Wagner Reese, LLP, VanDerGinst Law, P.C.,
Patton, Hoversten & Berg, P.A., Cross Law Firm, LLC,
Law Office of Michael Miller, Pagel Weikum, PLLP,
Wojtalewicz Law Firm, Ltd., Mikal C. Watts,
Francisco Guerra, and John Does 1-50,

                                 Defendants.


                    CLASS ACTION COMPLAINT FOR DECLARATORY
                       AND INJUNCTIVE RELIEF AND DAMAGES

                               DEMAND FOR JURY TRIAL




Dated: April 24, 2018
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 2 of 142


                            TABLE OF CONTENTS

SUMMARY OF CLAIM ………………………………………………………..…………… 1

PARTIES ………………………………………………………………………….………… 13

   A.    Plaintiffs……………………………………………………………….……… 13

   B.    Defendants Watts Guerra, LLP, Mikal Watts, Francisco Guerra
         And Joint Venture Partners …………………………………………………..                         14

   C.    Unnamed Conspirators ……………………………………………….……….. 17

JURISDICTION AND VENUE …………………………………………………….……….. 17

CHOICE OF LAW AND FORUM ………………………………………………….………. 19

FACTS …………………………………………………………………………………….…. 22

   A.    Class Actions With Common Damages Like The Syngenta Litigation …….… 22

   B.    Defendants Exploit The “Mass-Tort … Individual Suit” Model For
         Individualized Injuries And Damages In Product Liability Litigation …….…. 24

   C.    Litigation Race Was On: Federal MDL In Kansas …………………………… 25

   D.    Town Hall Meetings, Direct Mail Solicitations, Websites, Media
         Interviews, Joint Venture Relationships ………………………………………. 27

   E.    60,000 Individual Lawsuits Filed In Minnesota State Courts ………………… 56

   F.    Secret Joint Prosecution Agreements To Exclude 60,000 Farmers From
         Class Actions In Federal MDL In Kansas And Minnesota ………………….... 59

         1.    Joint Prosecution Agreement ……………………………………….….. 60

         2.    Minnesota Participation Agreement …………………………………… 62

         3.    Fraud Of Omission, Breach Of Fiduciary Duty And Professional
               Ethics Disclosure And Informed Consent Requirements ……………… 64

   G.    Settlement Term Sheet ………………………………………………………… 74

   H.    National Class Action Settlement Agreement ………………………………… 76

                                        i
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 3 of 142



          1.    Attorneys’ Fees And Expenses ………………………………………… 78

          2.    Split Jurisdiction ……………………………………………………….. 80

          3.    Undisclosed Joint Prosecution Agreements Showing Trade
                Of Money And Favors …………………………………………………. 81

          4.    Undisclosed Agreement To Share Fees ……………………………….. 81

          5.    Undisclosed Double-Dip ………………………………………………. 83

          6.    Farmers Are Injured ………………………………………….………….86

VIOLATIONS OF MINNESOTA RULES OF PROFESSIONAL CONDUCT ……………. 87

    A.    False Advertising………………………………………………………………. 87

    B.    Failure To Communicate Honestly With Clients About Litigation Options ….. 88

    C.    Breach Of Fiduciary Duties …………………………………………………… 89

    D.    Unreasonable Fees ………………………………………………………….…. 91

    E.    Undisclosed Fee Agreements …………………………………………………. 92

    F.    Misconduct ……………………………………………………………………. 92

MAIL AND WIRE FRAUD
18 U.S.C. §§ 1341, 1343 ……………………………………………………………..………. 93

OBSTRUCTION OF JUSTICE
18 U.S.C. §§ 1503, 1512(c)(2) ………………………………………………………….…… 97

CLASS ALLEGATIONS …………………………………………………………….……… 98

    A.    Numerosity ……………………………………………………………….…… 98

    B.    Common Questions Of Law And Fact ………………………………...……… 99

    C.    Typicality…………………………………………...……………….…………100

    D.    Adequacy Of Representation ………………………………………………… 100


                                         ii
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 4 of 142


     E.   Predominance And Superiority …………………………………..………….. 100

COUNT I
DECLARATORY JUDGMENT ACT
28 U.S.C. §§ 2201 AND 2202 ……………………………………………………...………. 101

COUNT II
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT,
FEDERAL RICO (Against Mikal C. Watts, Francisco Guerra, and
Watts Guerra, LLP), 18 U.S. C. § 1962(c) ………………………………………...….……. 102

     A.   Defendants/Enterprises …………………………………………...…..……… 102

     B.   Pattern Of Racketeering Activity ……………………………………………. 105

COUNT III
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT, FEDERAL
RICO CONSPIRACY (Against Joint Venture Partners/Conspirators),
18 U.S. C. § 1962(d) 104 …………………………………………………………………… 107

COUNT IV
PREVENTION OF CONSUMER FRAUD ACT, MINN. STAT. §§ 325F.68-70 ………… 110

COUNT V
FALSE STATEMENT IN ADVERTISING ACT, MINN. STAT. § 325F.67 ………….…. 112

COUNT VI
UNIFORM DECEPTIVE TRADE PRACTICES ACT, MINN. STAT. §§ 325D.43-48 .…. 114

COUNT VII
MISCONDUCT BY ATTORNEYS, PENALTIES FOR DECEIT OR COLLUSION,
MINN. STAT. §§ 481.071 AND 481.07 …………………………………………………… 116

COUNT VIII
BREACH OF FIDUCIARY DUTY …………………………………………………….…. 121

COUNT IX
FRAUDULENT MISREPRESENTATION ………………………………………….…….. 124

COUNT X
NEGLIGENT MISREPRESENTATION ……………………………………………..……. 126

COUNT XI
FRAUDULENT INDUCEMENT ………………………………………………………..… 127

                                     iii
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 5 of 142



COUNT XII
FRAUDULENT EXECUTION ………………………………………………………..…… 129

COUNT XIII
AIDING AND ABETTING BREACH OF FIDUCIARY OBLIGATIONS
AND FRAUD ………………………………………………………………………………. 131

COUNT XIV
CIVIL CONSPIRACY ………………………………………………………………..……. 133

DECLARATORY AND INJUNCTIVE RELIEF ……………………………………..…… 134

MONETARY DAMAGES ………………………………………………………….……… 135

JURY TRIAL DEMAND ……………………………………………………………..……. 136

REQUEST FOR RELIEF ………………………………………………………………..…. 136




                                    iv
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 6 of 142




       Plaintiffs Kenneth P. Kellogg, Rachel Kellogg and Kellogg Farms, Inc., and

Roland B. Bromley and Bromley Ranch, LLC, bring this Class Action Complaint

individually, and on behalf of similarly situated corn growers (“Farmers”) across the

United States, against Defendants Watts Guerra, LLP, Daniel M. Homolka, P.A., Yira

Law Office LTD, Hovland & Rasmus, PLLC, Dewald Deaver P.C., LLO, Givens Law,

LLC, Mauro, Archer & Associates, LLC, Johnson Law Group, Wagner Reese, LLP,

VanDerGinst Law, P.C., Patton, Hoversten & Berg, P.A., Cross Law Firm, LLC, Law

Office of Michael Miller, Pagel Weikum, PLLP, Wojtalewicz Law Firm, Ltd., Mikal C.

Watts, Francisco Guerra, and John/Jane Does (collectively “Defendants”).

                                 SUMMARY OF CLAIM

       1.     This class action addresses an attorney fee fraud scheme perpetrated by the

Defendants, a Texas law firm and its joint venture partners, lawyers and law firms in

multiple states, against 60,000 corn growers across the United States in connection with

GMO corn lawsuits against Syngenta AG (“Syngenta”), a global agricultural business,

filed in federal and state courts in 2014-17.

       2.     Farmers were deceptively solicited to sign 40 percent contingent fee

retainer contracts with Defendants to pursue individual lawsuits. Farmers were secretly

excluded, without their knowledge and consent, from participating in class actions

against Syngenta in federal court multidistrict litigation (“MDL”) in Kansas and the

Fourth Judicial District Court in Minnesota, where attorneys’ fees are determined by the

                                                1
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 7 of 142




presiding courts as fiduciaries for the members of the class. Farmers have been deprived

of the opportunity to make an informed decision as to whether to pursue an individual

claim or a class action claim without representation by Defendants, thereby subjecting

Farmers to Defendants’ fraudulent scheme to extract unreasonable fees.

      3.     Farmers ask the Court to declare that Defendants’ retainer contracts with

Farmers are void ab initio and that Defendants have forfeited their claim to any

compensation from individual Farmers, and that Defendants have waived any quantum

meruit claim against Farmers through their dishonest representations and omissions and

conduct.

      4.     Syngenta is the world’s largest seed supplier. At the start of the litigation

there were four United States entities: Syngenta Corporation, a Delaware corporation;

Syngenta Crop Protection, LLC, a Delaware corporation with its principal place of

business in North Carolina; Syngenta Seeds, Inc., a Delaware corporation with its

principal place of business in Minnesota; and Syngenta Biotechnology, Inc., a Delaware

corporation with its principal place of business in North Carolina. In December, 2015

Syngenta Seeds, Inc., converted to Syngenta Seeds, LLC under Delaware law. In May,

2017 Syngenta AG was purchased by a Chinese corporation, ChemChina, for $43 billion.

      5.     Lawsuits were filed in multiple federal and state courts arising from

Syngenta’s commercialization of genetically-modified (“GMO”) corn seed products

known as Viptera and Duracade (containing the trait MIR 162) without approval of such

                                             2
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 8 of 142




corn by China, an export market. The plaintiff corn growers alleged that Syngenta’s

commercialization of its products caused the genetically-modified corn to be commingled

throughout the corn supply in the United States; that China rejected all imports of corn

from the United States because of the presence of MIR 162; that such rejection caused

corn prices to drop in the United States; and that growers were harmed by that market

effect. The federal and state court lawsuits include:

    In Re: Syngenta AG MIR162 Corn Litigation, the MDL proceeding in the United
     States District Court for the District of Kansas, MDL No. 2591, Case No. 14-md-
     2591, before U.S. District Judge John W. Lungstrum and U.S. Magistrate Judge
     James P. O’Hara;

    Tweet et al v. Syngenta AG et al, No. 3:16-cv-00255, and Poletti et al v. Syngenta
     AG et al, No. 3:15-cv-01221, in the United States District Court for the Southern
     District of Illinois before U.S. District Judge David R. Herndon; and

    In re Syngenta Litigation, No. 27-cv-15-3785 (60,000 consolidated individual
     claims by corn growers across the United States including 9,000 Minnesota
     growers) and No. 27-cv-15-12625 (class claims on behalf of 23,000 Minnesota
     growers) in the Minnesota Fourth Judicial (Hennepin County) District Court
     before Judge Laurie J. Miller.

       6.     On June 23, 2017, the federal MDL court entered a Judgment following a

$217.7 million Kansas class jury verdict (the first bellwether trial) in favor of the

plaintiffs. On September 11, 2017, a Minnesota class trial began in Hennepin County

District Court. On September 25, 2017 a “global settlement was reached” with a common

fund of $1.51 billion created in settlement of plaintiff corn growers’ claims in all the

pending lawsuits in the United States.

       7.     There are over 600,000 corn growers in the United States. Over 83 million
                                              3
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 9 of 142




acres of corn were harvested in the United States in 2014, with an average yield of 174.2

bushels per acre, for a total 2014 corn harvest of almost 14.5 billion bushels. The damage

to United States’ corn growers caused by the price drop was estimated to be as much as

$1.90 per bushel with a claimed damage of about $6-7 billion – and as high as $13 billion

according to an April 24, 2017 tweet by defendant Mikal C. Watts through his firm

twitter account.

       8.     After China rejected U.S. shipments of corn and the corn futures price and

delivery price of corn across the United States dropped, Farmers were deceptively

solicited by Defendants to sign retainer agreements authorizing individual lawsuits

against Syngenta with a 40 percent contingent attorney fee from any recovery. Farmers

were dishonestly told through a barrage of television and internet advertising, direct-mail

campaigns, and hundreds of in-person “town hall” community meetings from as early as

December 4, 2014 and throughout 2015 and 2016 and into 2017 that a “mass tort …

individual suit” is better than a class action. Farmers were dishonestly told that “only

those who sign up (with Defendants) are eligible to pursue claims.”

       9.     Farmers were dishonestly told that a “mass tort … individual suit” is better

than a class action, because class actions only recover coupons for plaintiffs. Said Watts

at a meeting of corn growers in Storm Lake, IA on February 2, 2015, as quoted in the

Storm Lake Pilot Tribune (emphasis added): “Some of the farmers asked about the

difference between his mass suit and a class action. With a class action, Watts told them,

                                             4
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 10 of 142




“lawyers will get all the money and the farmers may get a gift certificate.”

       10.    Similarly, Bill Enyart, a member of the Watts Guerra law firm, told a

meeting of farmers in Champaign, Ill. on September 23, 2015 (emphasis added):

              [Watts Guerra] is filing suits in Minnesota, where Syngenta Seeds is
              located, as opposed to filing in a federal court. …. Enyart said the
              advantage to this was that instead of getting a discount for seed corn in the
              future, as in a class-action case, there would be a gross settlement fee and
              the firm would simply send the farmer a check.

       11.    Farmers were never told that they were putative class members in class

actions filed in federal district courts in different states and consolidated by a panel of

federal judges, a multidistrict litigation panel, into a single proceeding in U.S. District

Court in Kansas, the federal MDL, on December 11, 2014. Farmers were never told that

the class actions consolidated in the MDL in Kansas brought claims on behalf of corn

growers across the United States. Farmers were never informed that in a class action, the

presiding judge is a fiduciary for the class members, and obligated to invite and consider

objections from class members and award a reasonable attorney fee as a percentage of the

common fund of monetary damages for the class.

       12.    Attorney fee awards in class actions, with a common fund damage award,

are typically about 10-12 percent of the fund for funds of $200-900 million or larger.

With the class action model, each corn grower may effectively pay 10-12 percent of

claim proceeds as an attorney fee and share of the costs of the litigation. With

Defendants’ “mass tort …individual suit” model, each grower will pay 40 percent of the

                                               5
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 11 of 142




claim proceeds for the same result.

       13.    Defendants thereupon filed some 60,000 individual lawsuits in Minnesota

state district courts because Syngenta Seeds, Inc. then had its United States headquarters

in Minnesota. Defendants pled only Minnesota state claims to avoid removal to the

federal court in Minnesota by Syngenta and transfer to the consolidated MDL class action

proceedings in Kansas. Defendants successfully had their individual lawsuits remanded

back to Minnesota when Syngenta attempted to remove the cases to federal court and the

MDL.

       14.    And then, knowing that the Farmers’ 60,000 individual lawsuits would

nevertheless effectively remain a part of the federal MDL class action and a tag-along

class action in Hennepin County District Court for Minnesota growers, Defendants’

counsel entered into secret Joint Prosecution Agreements with the lead class counsel in

the MDL in Kansas and the Minnesota class action, with an explicit agreement to exclude

the 60,000 Farmers from class certification proceedings in the MDL and Minnesota. The

driving intent of the agreements, filed under seal, was to ensure the continuation of

Defendants’ 40 percent contingent attorney fee scheme, rather than allowing the Farmers

to fall as a matter of law into the class actions where fee awards would be determined by

the presiding judge.

       15.    Defendants never advised Farmers of the class action proceedings in federal

and state court covering the Farmers and their claims. Defendants never advised Farmers

                                             6
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 12 of 142




of the merits of those proceedings and what is in the best interest of the Farmers.

Defendants never informed Farmers that they entered into secret Joint Prosecution

Agreements with lead counsel in class action lawsuits in the MDL and Minnesota to

exclude Farmers from the respective classes. Defendants effectively opted Farmers out

of the class proceedings without informing them of their options and rights. See, e.g.,

Hanlon v. Chrysler Corp., 150 F.3d 1011, 1025 (1998) (citing Newberg & Conte,

Newberg on Class Actions § 16.16 (3d Ed. 1992) (“The decision to exercise the right of

exclusion in a Rule 23(b)(3) action is an individual decision of each class member and

may not be usurped by the class representative or class counsel.”). There is no class

action rule or authority allowing a putative class plaintiff or counsel to exercise class

rights en masse, by attempting to effect a group-wide exclusion from an existing class.

Hanlon, 150 F.3d at 1025. To do so would infringe on the due process rights of the

individual class members who have a right to intelligently and individually choose

whether to continue in a suit as a class members. Eisen v. Carlisle & Jacquelin, 417 U.S.

156, 173-77, 40 L.Ed.2d 732, 94 S. Ct. 2140 (1974).

       16.    Defendants’ exclusion of their 60,000 corn grower clients from class action

proceedings through secret agreements, never disclosed to Farmers until sixteen months

after the agreements were negotiated and signed, and never explaining why Farmers were

automatically excluded from the federal MDL and Minnesota classes, is an epic fraud of

omission and violates Defendants’ fiduciary obligations to the Farmers and professional

                                              7
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 13 of 142




responsibility rules requiring that clients be reasonably informed of litigation options and

consent to the selected option. At the same time, Defendants misled the MDL and

Minnesota courts through misrepresentations and omissions to believe that Defendants

had complied with their fiduciary and ethical obligations to gain informed consent from

individual Farmers for exclusion from the class certification proceedings and notice and

opt-out procedures.

       17.    Although Defendants never disclosed the September 25, 2017 settlement

term sheet to Farmers, the term sheet was attached to MDL motion pleadings on March

26, 2018. The term sheet envisioned a two-prong settlement: a nationwide class action

and a separate parallel inventory settlement for Defendants’ 60,000 cases filed in

Minnesota. The term sheet established jurisdiction with the MDL court to administer the

national class action settlement, and jurisdiction with the 23rd District Court of Brazoria

County, Texas, to administer the settlement of Defendants’ 60,000 individual lawsuits.

       18.    It is no surprise that Defendants never disclosed the term sheet to Farmers.

After three years of Defendants’ misuse of the Minnesota judicial system to perpetrate

their “mass tort … individual suit” attorney fee fraud scheme, Defendants shamelessly

negotiated the transfer of Farmers’ lawsuits to a Texas court in defendant Watts Guerra’s

backyard, with no previous connection to the Syngenta litigation, to address Defendants’

40 percent contingent fee contracts.

       19.    The Hennepin County District Court judge did not appreciate Defendants’

                                              8
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 14 of 142




odious jurisdiction transfer, and the parties revised the term sheet as a National Class

Action Settlement Agreement (“Settlement Agreement”) filed with the MDL court on

February 26, 2018 with claim administration under the jurisdiction of the MDL court.

The Settlement Agreement does not (1) acknowledge the secret Joint Prosecution

Agreements showing a trade of money and favors between Defendants and class counsel,

(2) disclose a fee-share agreement between Defendants and class counsel, and (3)

disclose Defendants’ intended double-dip of attorneys’ fees from Farmers’ pockets.

When Defendants submit Farmers’ claims through the national class action, Farmers, as

class members, will pay two sets of lawyers: (1) class counsel through a fee award as a

percentage of the common fund; and (2) Defendants under the terms of the individual

contingent fee contracts. A hypothetical within this complaint shows that if class counsel

are awarded 10 percent of the common fund as an attorney fee by the MDL court,

individual members of the class will pay 10 percent of their claim payment for attorneys’

fees, whereas Farmers will pay a grotesque 46 percent of their claim payment for

attorneys’ fees. If class counsel are awarded 30 percent of the common fund as an

attorney fee, individual members of the class will pay 30 percent of their claim payment

for fees, whereas Farmers will pay 58 percent.

       20.    The MDL court may exercise its inherent authority to cap Defendants’

contracts with individual Farmers. However, the court will have to cap the contracts at

zero to prevent a situation where Farmers are not assessed more fees and expenses than

                                              9
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 15 of 142




corn growers represented by class counsel.

       21.    Defendants’ “mass-tort … individual suit” attorney fee fraud scheme

violates multiple rules of the Minnesota Rules of Professional Conduct (MRPC),

including: Rule 7.1 prohibiting false or misleading advertising; Rule 1.4 which requires

lawyers to “promptly inform the client of any decision or circumstance with respect to

which the client’s informed consent” is required; Rule 1.5(a) requiring lawyers to charge

a reasonable fee; Rule 1.5(e)(2) requiring disclosure of fee share agreements and the

client’s consent); Rule 1.7 prohibiting dual representation of class members and

individual clients, Rule 1.8(g) prohibiting lawyers from participating “in making an

aggregate settlement of the claims of … [individual] clients unless each client gives

informed consent” and “[t]he lawyer’s disclosure shall include the existence and nature of

all the claims involved and of the participation of each person in the settlement;” Rule 4.1

stating that in the course of representing a client, “a lawyer shall not knowingly make a

false statement of fact or law;” and Rule 8.4 stating that lawyers shall not “engage in

conduct involving dishonesty, fraud, deceit, or misrepresentation.”

       22.    Farmers assert federal statutory claims under the Declaratory Judgment

Act, 28 U.S.C. §§ 2201 and 2202, and the Racketeer Influenced and Corrupt

Organizations Act (RICO), 18 U.S.C. § 1961, et seq., Minnesota statutory claims under

the Prevention Of Consumer Fraud Act, Minn. Stat. §§ 325F.68-70, False Statement In

Advertising Act, Minn. Stat. § 325F.67, Uniform Deceptive Trade Practices Act, Minn.

                                             10
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 16 of 142




Stat. §§ 325D.43-48, and Misconduct by Attorneys/Penalties for Deceit or Collusion,

Minn. Stat. §§ 481.071 and 481.07, and common law claims of breach of fiduciary duty,

fraudulent misrepresentation, negligent misrepresentation, fraudulent inducement,

fraudulent execution, aiding and abetting breach of fiduciary obligations and fraud, and

civil conspiracy.

       23.    Whatever fees may be sought, and whether the Settlement Agreement

receives final approval from the MDL court after notice and objections and withstands

appellate scrutiny, has no bearing on the merits of this lawsuit. Farmers are injured by

Defendants’ deceit and breach of fiduciary duties. Gilchrist v. Perl, 387 N.W.2d 412, 417

(Minn. 1986) (Perl III) (“[W]e reaffirm that cases of actual fraud or bad faith result in

total fee forfeiture.”); Perl v St. Paul Fire and Marine Ins. Co., 345 N.W.2d 209, 212

(Minn. 1984) (Perl II) (“the client is deemed injured even if no actual loss results”); Rice

v. Perl, 320 N.W.2d 407, 411 (Minn. 1982) (Perl I) (“an attorney … who breaches his

duty to his client forfeits his right to compensation”).

       24.    As indicated, Farmers ask the Court to declare that Defendants’ retainer

agreements with Farmers are void ab initio and that Defendants have forfeited their claim

to any compensation from individual Farmers, and that Defendants have waived any

quantum meruit claim against Farmers through their dishonest representations and

omissions and conduct.

       25.    Farmers request monetary damages to the extent that Defendants claim and

                                              11
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 17 of 142




capture any compensation, and treble the forfeited compensation and monetary damage,

jointly and severally, pursuant to 18 U.S.C. § 1964(c) and Minn. Stat. §§ 481.071 and

481.07.

       26.    Defendants’ misconduct stains the administration of justice. Defendants

solicited Farmers as clients through deceit and secretly traded their legal rights for money

and favors. Defendants have never disclosed to Farmers the money they agreed to pay

MDL and Minnesota class counsel – a share of Farmers’ recovery from Syngenta

(Farmers’ money) – in exchange for (1) the exclusion of Farmers from the class

proceedings, and (2) agreements that class counsel will not contest Defendants’ 40

percent contingent fee contracts with individual farmers. At all times since the inception

of Defendants’ “mass tort … individual suit” attorney fee fraud scheme, Defendants

placed their self-dealing financial interests above Farmers’ interests.

       27.    Over a century ago, the American Bar Association told lawyers, “It should

never be forgotten that the profession is a branch of the administration of justice and not a

mere money-getting trade.” ABA Cannons of Professional Ethics 12 (1908). The rulings

in this case should go out across the legal landscape as the just result for dishonest and

greedy lawyers and law firms who craft schemes to abuse the legal process and exploit

their deceived and unknowing clients, in this case, the remarkable corn growers across

the United States who feed the world, to extract or attempt to extract an unreasonable fee.




                                             12
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 18 of 142




                                        PARTIES

A.     Plaintiffs

       28.    Plaintiffs Kenneth P. Kellogg, Rachel Kellogg and Kellogg Farms, Inc., are

North Dakota farmers and a family farm corporation engaged in the business of planting,

growing, harvesting, gathering, distributing and selling corn in North Dakota. Plaintiffs

signed retainer agreements with Defendants Watts Guerra, LLP, Law Office of Michael

Miller, Cross Law Firm, LLC, and Pagel Weikum, LLP, on May 16 and May 21, 2015,

assigning 40 percent of any gross recovery from Syngenta to the referenced defendants.

Kelloggs’ individual lawsuit in Hennepin County District Court is dated June 18, 2015

and a Joint Prosecution Agreement (“JPA”) to automatically exclude Kelloggs’ claims

from the MDL class action was signed by Defendants in April, 2015 with an amended

JPA signed on June 18, 2015. Kenneth and Rachel Kellogg were never informed by

Defendants of the JPA and exclusion from the MDL class action.

       29.    Plaintiffs Roland B. Bromley and Bromley Ranch, LLC, are North Dakota

farmers and a family farm corporation engaged in the business of planting, growing,

harvesting, gathering, distributing and selling corn in North Dakota. Plaintiffs signed a

retainer agreement with Defendants Watts Guerra, LLP and Daniel M. Homolka, P.A. in

April, 2015, assigning 40 percent of any gross recovery from Syngenta to the referenced

defendants. Bromleys’ individual lawsuit in Hennepin County District Court was filed on

May 1, 2015 and a JPA to automatically exclude Bromleys’ claims from the MDL class

                                             13
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 19 of 142




action was signed by Defendants in April, 2015 with an amended JPA signed on June 18,

2015. Bromley was never informed by Defendants of the JPA and exclusion from the

MDL class action. Bromley signed a retainer agreement with Douglas J. Nill, PLLC and

a Substitution of Counsel was filed on May 9, 2016. On May 16, 2016, Watts Guerra

wrote a letter to Bromley asserting “we intend to retain our contractual fee interest in the

outcome of your case.”

       30.    Plaintiffs represent a proposed Class of all corn growers who signed

attorney retainer contracts with Watts Guerra, LLP and its joint venture partners, for

representation in claims, suits or other matters arising out of and resulting from economic

damages sustained from the use of Syngenta GMO products or those products’ adverse

effect on the U.S. corn market.1 The Class may be expanded to include others who

conspired with Defendants to pursue their attorney fee fraud scheme for financial benefit.

B.     Defendants Watts Guerra, LLP, Mikal Watts, Francisco Guerra And Joint
       Venture Partners

       31.    Defendant Watts Guerra, LLP, is a Limited Liability Partnership with its

headquarters at 4 Dominion Drive, Bldg. 3, Suite 100, San Antonio, Texas 78257.

       32.    Defendant Daniel M. Homolka, P.A., is a Professional Association with its

office at 102 Main Street S., Suite 201, Hutchinson, MN 55350 and an office at 6400


       1
        . Plaintiffs and the proposed Class of 60,000 corn growers who signed retainer
contracts with Defendants are referenced as “Farmers” in this complaint. The 600,000
corn growers across the United States are referenced as corn growers or growers and on a
few occasions as farmers or producers.
                                             14
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 20 of 142




Timber Ridge, Minneapolis, MN 55459.

         33.   Defendant Yira Law Office LTD is a limited liability corporation with its

principal place of business located at 102 Main Street South, # 201, PO Box 518,

Hutchinson, MN 55350.

         34.   Defendant Hovland & Rasmus, PLLC, is a Professional Limited Liability

Company with its headquarters at Southdale Office Centre, 6800 France Avenue South,

Suite 190, Edina, MN 55435.

         35.   Defendant Dewald Deaver, P.C., LLO, is a Professional Corporation with

its headquarters at 413 East Ave, Holdrege, NE 68949.

         36.   Defendant Givens Law, LLC, is a Limited Liability Company operated by

Jon T. Givens, of Anchorage, Alaska. Upon information and belief, Mr. Givens is

affiliated with Watts Guerra, LLP and maintains his office at the Watts Guerra, LLP

office at 4 Dominion Drive Bldg. 2, Suite 100, San Antonio, Texas 78257.

         37.   Defendant Mauro, Archer and Associates, LLC is a Limited Liability

Company with a principal office at 818 Connecticut Ave. NW, # 1100, Washington, D.C.

20006.

         38.   Defendant Johnson Law Group is a law firm partnership with a principal

office at 2925 Richmond Ave., Suite 1700, Houston, Texas.

         39.   Defendant Wagner Reese, LLP, is a Limited Liability Partnership with its

principal place of business at 11939 North Meridian Street, Carmel, Indiana 46032.

                                            15
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 21 of 142




       40.    Defendant VanDerGinst Law, P.C., is a Professional Corporation with its

principal place of business at 4950 38th Ave., Moline, IL 61265.

       41.    Defendant Patton, Hoversten & Berg, P.A., is a Professional Association

with its principal place of business at 215 E Elm Avenue, P.O. Box 249, Waseca, MN

56093-0249.

       42.    Cross Law Firm, LLC, is a Limited Liability Corporation with its principal

place of business at 2544 West 47th Ave., Kansas City, Kansas 66103.

       43.    Law Office of Michael Miller is an apparent sole proprietorship with its

principal place of business at 926 Chulie Drive, San Antonio,TX 78216.

       44.    Pagel Weikum, PLLP is a Professional Limited Liability Partnership with

its principal place of business at 1715 Burnt Boat Drive, Madison Suite, Bismarck, ND

58503-0853.

       45.    Wojtalewicz Law Firm, Ltd., is a Limited Liability corporation with its

principal place of business at 139 N. Miles St., Appleton, MN 56208.

       46.    Defendant Mikal C. Watts is a partner with Watts Guerra, LLP, with its

headquarters at 4 Dominion Drive, Bldg. 3, Suite 100, San Antonio, Texas 78257, and he

resides in Texas.

       47.    Defendant Francisco Guerra is a partner with Watts Guerra, LLP, with its

headquarters at 4 Dominion Drive, Bldg. 3, Suite 100, San Antonio, Texas 78257, and he

resides in Texas.

                                            16
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 22 of 142




       48.    John Does 1-50 are additional “joint venture partners” with Watts Guerra,

LLP in the Syngenta litigation; law firms and lawyers listed on fee contracts signed by

Farmers, fee-splitting with Watts Guerra, LLP and sharing in the claimed 40 percent

contingent fee. See Minnesota Rules of Professional Conduct, 1.5 (e)(1) (fee division

between lawyers who are not in the same firm requires referral lawyer to “assume[] joint

responsibility for the representation”). The identities of John and Jane Does are unknown

to Farmers who therefore sue them under these fictitious names. Farmers will amend the

Class Action Complaint to add their true names and capacities when they become known

through discovery.

C.     Unnamed Conspirators

       49.    Although Farmers assert claims in this Class Action Complaint against law

firms and lawyers listed on fee contracts signed by Farmers, other law firms and lawyers

conspired with Defendants to pursue their “mass tort … individual suit” attorney fee

fraud scheme, and violated fiduciary obligations to Farmers, for financial benefit. If the

unnamed conspirators claim any compensation from Farmers’ claims against Syngenta,

or take any action to frustrate or oppose Farmers’ efforts in this lawsuit, those parties will

be added to this Class Action Complaint as defendants and aggressively prosecuted.

                             JURISDICTION AND VENUE

       50.    Farmers are the approximate 60,000 individual corn growers across the

United States who are represented by Defendants. Most of those 60,000 corn growers

                                              17
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 23 of 142




have cases filed against Syngenta in Minnesota state district courts and consolidated in

Hennepin County District Court, File No. 27-cv-15-3785,2 by Order of the Minnesota

Supreme Court.3

       51.    The Court has subject-matter jurisdiction pursuant to 28 U.S.C. § 1331

because this action arises under the laws of the United States, and 18 U.S.C. § 1964(c),

because this action alleges violations of the Racketeer Influenced Corrupt Organizations

Act (“RICO”), 18 U.S.C. § 1961, et seq.

       52.    The Court also has subject-matter jurisdiction pursuant to the Class Action

Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action, including


       2
        . The Settlement Agreement filed in the MDL court on February 26, 2018,
indicates that Defendants filed 50,000 individual lawsuits in Minnesota state courts. This
number may be understated. Upon information and belief, Defendants filed at least
57,000 individual lawsuits. As recent as November 14-15, 2017, after the September 25,
2017 settlement was announced to the media, Defendants filed lawsuits by individual
corn growers. Defendants may have signed retainer agreements with many additional
growers. Farmers assert 60,000 as a round number for this Class Action Complaint, and
the exact number and identities of members of the Class will be ascertained through
discovery.
       3
        . The Minnesota Supreme Court in a May 22, 2015 Order assigned all cases filed
in Minnesota state courts against Syngenta to a single judge, the Honorable Thomas M.
Sipkins of the Fourth Judicial District, under Minn. R. Gen. P. 113.03. Judge Sipkins
consolidated the Syngenta cases into two lead files: In re: Syngenta Class Action
Litigation: Class Action, No. 27-cv-15-12625; and In re: Syngenta Class Action
Litigation: Individual Claims, No. 27-cv-15-3785. Upon information and belief, there are
about 23,000 Minnesota corn growers who are members of the Minnesota class action,
and about 60,000 growers across the United States, including 9000 Minnesota growers,
who filed individual claims. Judge Sipkins announced that he was retiring and by July 7,
2017 Order the Minnesota Supreme Court assigned the Syngenta cases to the Honorable
Laurie J. Miller of the Fourth Judicial District.
                                            18
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 24 of 142




claims asserted on behalf of a nationwide class, filed under Rule 23 of the Federal Rules

of Civil Procedure; there are some 60,000 proposed Class members; the aggregate

amount in controversy exceeds the jurisdictional amount of $5,000,000.00; and

Defendants are citizens of States different from that of named Plaintiffs and members of

the Class. The Court has supplemental jurisdiction over the state law claims pursuant to

28 U.S.C. § 1367.

      53.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C.

§ 1965, because Defendants implemented and pursued their massive attorney fee fraud

scheme by filing some 60,000 individual lawsuits in Minnesota state courts and

consolidated in Hennepin County District Court.

                            CHOICE OF LAW AND FORUM

      54.    Farmers address Defendants’ misconduct through federal and Minnesota

law that apply to all Farmers. Defendants misused the Minnesota courts to file their

60,000 individual lawsuits against Syngenta in furtherance of their “mass tort …

individual suit” attorney fee fraud scheme. The secret Joint Prosecution Agreements

excluding Defendants’ 60,000 individual clients from class action proceedings in the

federal MDL and Minnesota were employed by Defendants in the MDL and Minnesota

courts in furtherance of that scheme. Defendants misled the MDL and Minnesota courts

to believe that Defendants had complied with their fiduciary and ethical obligations to

gain informed consent from individual Farmers for exclusion from the MDL and

                                            19
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 25 of 142




Minnesota class certification proceedings and notice and opt-out procedures.

Accordingly, Minnesota has a connection to the claims of each Farmer and Class

Member, and no state has a greater interest than Minnesota in having its law apply to this

case. It is well-settled that “a forum state may apply its own substantive law to the claims

of a nationwide class without violating the federal procedural due process clause or full

faith and credit clause if the state has a “significant contact or significant aggregation of

contacts” to the claims of each class member such that application of the forum law is

“not arbitrary or unfair.” Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 821-22 (1985).

       55.    Defendants’ early contracts with Farmers did not contain a choice of law

and forum provision. Exhibit 1 (Bromley) and Exhibit 2 (www.lostcornincome.com

4/5/18: “NO CASES WILL BE ACCEPTED EFFECTIVE 9/1/17). Although some later

contracts assert that Texas law and a Texas forum apply to contract disputes, Exhibit 3

(Kellogg: May 11 and May 24, 2015), there was no consideration for Farmers to sign the

later contracts. The Texas law and forum language would not apply, in any event, to

Farmers’ claims of attorney misconduct presented in this case.

       56.    The American Bar Association (ABA) Model Rules of Professional

Conduct Rule 8.5(a) and (b) (2007) provide (emphasis added):

              (a) Disciplinary Authority. A lawyer admitted to practice in this
              jurisdiction is subject to the disciplinary authority of this jurisdiction
              regardless of where the lawyer’s conduct occurs. A lawyer not admitted in
              this jurisdiction is also subject to the disciplinary authority of this
              jurisdiction if the lawyer provides or offers to provide any legal services in

                                              20
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 26 of 142




              this jurisdiction. A lawyer may be subject to the disciplinary authority of
              both this jurisdiction and another jurisdiction for the same conduct.
              (b) Choice of Law. In any exercise of the disciplinary authority of this
              jurisdiction, the rules of professional conduct to be applied shall be as
              follows:
              (1) for conduct in connection with a matter pending before a tribunal, the
              rules of the jurisdiction in which the tribunal sits, unless the rules of the
              tribunal provide otherwise; * * *

       57.    Because Defendants used the Minnesota courts to litigate their 60,000

individual lawsuits against Syngenta in furtherance of their “mass tort … individual suit”

attorney fee fraud scheme, Defendants’ misconduct is governed by the Minnesota Rules

of Professional Conduct.

       58.    Likewise, Minnesota has a strong public policy interest in providing the

forum and enforcing its laws addressing attorney misconduct by lawyers practicing law in

Minnesota, which include criminal penalties under Minn. Stat. §§ 481.071 and 481.07

and Minn. Stat. § 325F.67.

       59.    Defendants’ misconduct therefore falls under the governance of Minnesota

statutory laws such as the Prevention Of Consumer Fraud Act, Minn. Stat. §§ 325F.68-

70, False Statement In Advertising Act, Minn. Stat. § 325F.67, Uniform Deceptive Trade

Practices Act, Minn. Stat. §§ 325D.43-48, and Misconduct by Attorneys/Penalties for

Deceit or Collusion, Minn. Stat. §§ 481.071 and 481.07, and common law claims of

breach of fiduciary duty, fraudulent misrepresentation, negligent misrepresentation,

fraudulent inducement, fraudulent execution, aiding and abetting breach of fiduciary

obligations and fraud, and civil conspiracy.
                                               21
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 27 of 142




                                            FACTS

A.     Class Actions With Common Damages Like The Syngenta Litigation

       60.     In multi-state and national class actions with common facts and a common

damage, the earlier a case is filed, the larger and more experienced the law firm doing the

filing, and the more potential class members held by that firm, the more likely that law

firm will be assigned a role on the lead counsel committee in consolidated litigation. It is

the lead counsel committee in a class action who conduct documentary discovery,

establish document depositories, take depositions, brief and argue motions, conduct

bellwether trials, and in general, carry out the court’s pretrial orders, including

appearances at periodic conferences or hearings. Lawyers with clients who are not

selected for a leadership role are basically left to assist their clients in filing claims in the

event of a resolution of the litigation. If the clients choose to opt-out of the class action

proceedings or settlement, the lawyers for those clients are required to pay the lead

counsel of the class, or MDL lead counsel for consolidated mass tort cases, a so-called

common benefit fee as determined by the Judge handling the consolidated litigation.

       61.     A class action with common facts and a common damage is the most

efficient way to handle hundreds or thousands of claims. See Fed. R. Civ. P. 23; Minn.

R. Civ. P. 23; The Federal Class Action Practice Manual; MDL Standards And Best

Practices, Duke Law Center For Judicial Studies, Sept. 11, 2014. The work is handled by

the assigned lead counsel and committee, with those lawyers getting a percentage of the

                                               22
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 28 of 142




common fund upon successful resolution of the case. The assigned judge for the class

action is a fiduciary for the class, determining an appropriate fee award after motion

practice, with input from all parties, plaintiff and defendant, as a percentage of the

common fund.

       62.    The Syngenta GMO litigation is a classic example of a case suited for class

action treatment. The facts and issues are common to the class; that is, the alleged

improper marketing by Syngenta, pushing its GMO seed into the United States market for

growers when Syngenta reasonably should have anticipated that China might not grant

approval for seed with the GMO MIR162 trait to enter the country.

       63.    Defendants’ own advertising solicitations to corn growers throughout the

Midwest announced a common price drop, a common cent-per-bushel damage, for every

grower selling corn into the market throughout the United States. As disclosed in

Defendants’ advertisements and solicitations and class certification pleadings in the MDL

and Minnesota litigation, plaintiff experts opined that China’s rejection of the Syngenta

seed caused an estimated .22 cents to over $1 per bushel” price drop in the elevator price

for corn, in 2015, in every market across the United States. Two experts opined in the

MDL bellwether trial for Kansas corn growers that Syngenta’s conduct, taking into

account modest transportation and delivery variables, caused a damage of 48.69 cents a

bushel and 40.90 cents a bushel for growers across the United States over a five year

period from 2013-18. Using the lower calculation for this discussion, a corn grower who

                                             23
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 29 of 142




sold his corn in North Dakota suffered an alleged 40.90 cents per bushel price drop. A

grower who sold his corn in Arkansas had the same essential 40.90 cents per bushel price

drop. A grower in Kansas faced a 40.90 cents drop and a grower in Illinois faced the

same 40.90 cents per bushel price drop.

B.     Defendants Exploit The “Mass-Tort … Individual Suit” Model For
       Individualized Injuries And Damages In Product Liability Litigation

       64.    The “mass-tort … individual suit” model is exploited by Defendants to lure

corn growers into their 40 percent contingent attorney fee scheme. A “mass-tort

…individual suit” model is the type of litigation applied to drug and medical product

device claims – pharmaceuticals and dangerous medical devices – where there is an

individualized injury. A recipient of a defective weight loss drug, or a defective artificial

hip implant, may suffer an individualized injury that differs significantly from someone

else who purchased the same product. Individualized injuries, individualized damages.

       65.    An August 19, 2016 solicitation by the National Trial Lawyer to attend a

mass tort conference highlights the types of defective drug and product claims that earn

the mass tort moniker with individualized physical injuries:

                     New Pradaxa docket in Connecticut
                     IVC Filter Latest Developments
                     Xareito MDL and Philadelphia Court of Common Please Update
                     Fluoroquinolone antibiotics emerging litigation information
                     Emerging Roundup litigation

       66.    The National Trial Lawyer mass tort conference did not discuss the

Syngenta litigation for a reason understood by all mass tort lawyers. Simply stated, the
                                             24
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 30 of 142




Syngenta case is not a “mass tort … individual suit” case. Defendants exploited the

“mass-tort … individual suit” model as a means of justifying their attempts to lure

uninformed corn growers to file individual suits, and thereby avoid the class action

common fund model, with attorney fees subject to the fiduciary control of the court as a

percentage of the common fund.

C.     Litigation Race Was On: Federal MDL In Kansas

       67.    On September 12, 2014, Cargill filed the first lawsuit against Syngenta for

improper marketing of its GMO corn seeds. Corn exporter Transcostal Supply Company

filed suit four days after Cargill. By October 2nd, five statewide class actions had been

filed against Syngenta; by October 18, eleven statewide class actions had been filed.

Archer Daniels Midland Company (“ADM”) filed suit on November 19, 2014. By

December 1, 2014, hundreds of corn growers had filed suit against Syngenta.

       68.    The plaintiffs in an action filed in the Northern District of Illinois brought a

motion under 28 U.S.C. § 1407 to centralize all pretrial proceedings in the Northern

District of Illinois. Although no party opposed centralization, Syngenta suggested that the

litigation be centralized in the District of Minnesota.

       69.    The United States Panel on Multidistrict Litigation (“MDL”) held a hearing

in Charleston, South Carolina on December 4th. In a December 11, 2014 Order, MDL No.

2591, the Panel issued a Transfer Order centralizing the federal court litigation by corn

growers against Syngenta in the District of Kansas, ruling that the numerous claims filed

                                             25
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 31 of 142




in federal court shared common issues of law and fact and should be consolidated for

pretrial and discovery purposes, and assigning the Honorable Judge John W. Lungstrom

to handle the proceedings. The MDL noted that one action and three tag-along actions

were already pending in the District of Kansas. The MDL also noted that a total of 168

potentially related “tag-along” actions by corn growers against Syngenta had been filed in

various federal district courts after the initial motion for consolidation by the plaintiffs in

the Northern District of Illinois.

       70.    Defendants avoided the federal courts, knowing that any lawsuits filed in

federal court would be consolidated into the MDL. Defendants employed the Minnesota

state courts for their scheme, because one of the four Syngenta entities in the United

States, Syngenta Seeds, Inc., had its headquarters in Minnesota. And Defendants never

told Farmers, a fraud of omission, that the consolidated proceedings in federal court in

Kansas included complaints filed as putative class actions, covering corn growers in

states across the United States, including Iowa, Illinois, Nebraska, Minnesota, Indiana,

South Dakota, Kansas, Wisconsin, Missouri, Ohio, and North Dakota, and etc.

       71.    Instead, Defendants commenced and implemented their scheme through

false advertising to persuade corn growers throughout the United States to sign retainer

agreements authorizing individual lawsuits against Syngenta with a 40 percent contingent

attorney fee from any recovery. Farmers were dishonestly told in a barrage of

advertisements and community meetings that a “mass tort … individual suit” is better

                                              26
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 32 of 142




than a class action. Farmers were dishonestly told that “only those who sign up (with

Defendants) are eligible to pursue claims.”

D.     Town Hall Meetings, Direct Mail Solicitations, Websites, Media Interviews,
       Joint Venture Relationships

       72.    On December 4, 2014, the same day that the federal MDL panel met in

Charleston, South Carolina to consider transferring all federal cases to a single district

court, and just a week before the December 11, 2014 MDL Order transferring all federal

cases to the District Court in Kansas, Defendants began town hall meetings across the

Corn Belt to solicit corn growers to pursue their “mass tort …individual suit” scheme

with a 40 percent contingent attorney fee.

       73.    Defendants also initiated a barrage of websites such as 3DollarCorn.com,

CornFarmerLawsuit.com, CornSuits.com, IndianaCornLawsuits.com,

IowaCornLawsuit.com, KansasLostCorn.com, LostCornIncome.com,

MidwestCornLawsuit.com, NebraskaLostCorn.com, NorthDakotaLostCorn.com and

others, touting their “mass tort … individual suit” scheme.

       74.    Defendants used farm media advertisements in weekly agricultural industry

newspapers and Facebook posts to drive farmers to websites and town hall meetings:

“Sign Up On-Line in 3 Minutes!”; “Sign Up before Spring Plant!”; “Last chance before

Spring Plant!”; “Over 13,000 Farmers Strong & Growing!”; “We represent over 20,000

Farmers in 44 States in America with local lawyers to serve you! … This is time sensitive

– Statute of Limitations vary by state.”.
                                              27
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 33 of 142




       75.    Defendants engaged select lawyers and law firms as “joint venture

partners” to assist in conducting the town hall meetings and soliciting corn growers as

clients, with the joint venture partners sharing in the 40 percent contingent fee.

       76.    Defendants falsely represented to corn growers through direct mail and

advertisements and town hall meetings that if they did not sign with Defendants, the

growers would lose their right to file a claim. Defendants also gave numerous press

interviews.

       77.    The goal was to deceptively tout Defendants’ “mass tort … individual suit”

scheme as superior to class actions where “lawyers get all the money” and corn growers

only get a gift certificate and discounts for seed corn, and thereby mislead growers into

signing Defendants’ 40 percent contingent fee retainer contract.

       78.    For example, through LostCornIncome.com and community meetings and

direct mailings, defendants Watts Guerra, LLP and joint venture partners, Daniel M.

Homolka, P.A., and Hovland and Rasmus, PLLC, aggressively solicited corn growers in

Minnesota, North Dakota and South Dakota and other states.

       79.    In December, 2014 meetings with corn growers throughout Minnesota,

Watts was quoted by local media as saying that the “40 percent … fee structure is

standard for this type of litigation.” This is a statement intended to deceive growers and a

fraud by omission. A forty percent fee is an unreasonable fee for a class action or any

case of aggregate claims with a huge common fund like Syngenta.

                                             28
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 34 of 142




       80.    In a January 16, 2015 meeting with corn growers, quoted in Agweek, a

farm publication disseminated in Minnesota, North Dakota, South Dakota and Montana,

and placed on LostCornIncome.com, Defendant James B. Hovland, under the direction

and control of the Watts Guerra group, was quoted as saying:

              Hovland and his colleagues prefer a mass tort case because it would involve
              more individual firms and corn farmer clients would be handled more
              individually. He says class action suits can end in getting a ‘free bag of
              seed or some (sale) credit,’ while a mass tort can provide ‘better recovery
              for the farmers.’

       81.    In a January 17, 2015 meeting, quoted in the Mankato Free Press with the

article placed on the LostCornIncome.com website for wide dissemination by

Defendants: “[Daniel] Homolka said that if farmers don’t file a suit, which costs them

nothing, they will most likely not be included in any eventual settlement.” (Emphasis

added). The statement by Homolka, on behalf of Watts Guerra, is dishonest. Putative

class actions were already consolidated in the federal MDL in Kansas, covering

essentially all 600,000 corn growers in the United States. Corn growers who listened to

Homolka already had effective representation, counsel leading the consolidated class

actions, and did not need to do anything at all. Growers certainly did not need to sign

Defendants’ 40 percent attorney fee retainer agreements.

       82.    During a February 2, 2015 meeting of corn growers in Storm Lake, IA,

defendant Watts was quoted in the Storm Lake Pilot Tribune as telling the assembled

growers (emphasis added):

                                            29
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 35 of 142




              He told the growers that they need to sign up for his lawsuit quickly,
              repeating several times that the statute of limitations would run out. “There
              is only so much time to file suit,” he said.

              Some of the farmers asked about the difference between his mass suit and
              class action. Under class action, Watts told them, lawyers get all the money
              and the farmers may get a gift certificate.

              He said that those who sign on as plaintiffs in his lawsuit can choose to opt
              out if they do not like whatever may occur, and go ahead suing
              individually instead.

       83.    The statements by Watts are dishonest and a fraud by omission. Watts

never told the assembled group that putative class actions covering essentially all 600,000

corn growers in the United States were consolidated by a federal MDL panel in U.S.

District Court in Kansas on December 11, 2014.

       84.    Watts dishonestly said that in class actions lawyers get all the money and

farmers get gift certificates. In fact, what Watts did not tell the corn growers, was that in

class actions with a large common fund, the typical attorney fee and costs assessed from

the fund, covering each claim, with the presiding Judge as a fiduciary for the class, are

about 10-12 percent. Defendants’ “mass tort … individual suit” scheme was intended,

from the very beginning, to extract 40 percent of the claim from each grower.

       85.    Finally, Watts tells the corn growers that if they sign his 40 percent attorney

fee retainer, they will be informed and presented the option to opt-out of a settlement. In

fact, through secret Joint Prosecution Agreements with the MDL and Minnesota class

counsel, Defendants excluded the growers from the MDL and Minnesota class action

                                              30
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 36 of 142




proceedings with no notice to the growers and explanation for the exclusion from class

action treatment.

       86.      In a February 9, 2015 town hall-styled meeting at the Fergus Falls, MN

AmericInn, Homolka talked about the Watts Guerra legal actions against Syngenta.

Homolka told corn growers that the advantage to filing individual lawsuits in county

courts in Minnesota, where the growers resided, was “a significant advantage” over

participating in the class action process in the federal MDL in Kansas. Homolka never

explained that the true motivation by Defendants was to sign growers to 40 percent

contingent attorney fee agreements, and avoid losing control of the litigation to lead

counsel in the Kansas MDL, while collecting an unreasonable 40 percent of each claim in

the event of an ultimate settlement.

       87.      A flyer mailed to growers in early March, 2015, stated: “Join us next week

for a Town Hall Meeting in your area to find out how to recover your loss. Only those

who sign up are eligible to pursue claims.” (Emphasis added). The flyer does not say, a

fraud of omission, that the federal MDL had consolidated putative class actions in the

District of Kansas in December, 2014, three months earlier, with claims specifically

asserting Minnesota, North Dakota and South Dakota law and covering corn growers in

those states.

       88.      The 3DollarCorn.com website had a question and answer section where

Defendants state:

                                             31
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 37 of 142




              “We are MDL (Multi-District Litigation) Mass Tort lawyers vs. Class
              Action lawyers that represent you (as part of the class) without you
              knowing it. They simply file paper work on behalf of the farmer “Class.”
              Class Action cases are often settled without the knowledge of the clients
              under terms that seem to work best for the lawyers who bill the case by the
              hour. Many of these settlements result in clients being offered coupons or
              pre-paid debit cards in the case of Star-link Settlement. We feel there is a
              better way.”

       89.    The statement is misleading. It implies that class actions are unfair to the

clients and only result in coupon settlements. It purports to compare a different case, with

different facts, to the Syngenta litigation. It does not inform the consumer that in class

actions, attorney fees as a percentage of the common fund, must be approved by the

presiding Judge, as a fiduciary for the class. It does not inform corn growers that with

individual lawsuits, there is no Judge approving fees or looking out for the best interest of

the client.

       90.    In another section of the website, a purported news section, Defendants

proclaim:

              “The lawsuit would not be a class action. Rather, farmers would file
              individual suits and these cases would then be consolidated into a single
              civil action, known as a mass tort. A small number of individual cases,
              considered to be representative of the larger pool of plaintiffs would be
              selected to potentially go to trial, but odds are slim that any single farmer
              would be deposed to participate, lawyers said.”

       91.    The statement is misleading. Defendants misrepresent the nature of

consolidated individual claims as opposed to a class action. The statement misrepresents

the risk to individual corn growers, who may incur time answering written discovery

                                             32
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 38 of 142




requests and costs and be required to testify by deposition and at trial. It does not say that

with a putative class action underway in federal court in Kansas, growers need not do

anything, and need only wait to submit claims if there is a settlement or judgment in the

federal class action. With a class action, there is no risk that any growers, other than class

representatives, will be deposed or incur costs or be required to testify at a deposition or

trial. In fact, Defendants dismissed individual growers who were selected for bell weather

trials and did not want to participate.

       92.    The 3DollarCorn.com website states:

              “Farmers participating in the lawsuit would pay a contingent fee equal to 40
              percent of any judgment awarded, according to Watts. That 40 percent
              would get divided among the lawyers involved, including local lawyers.
              Farmers would take the 60 percent and would pay nothing in fees if their
              lawsuit is unsuccessful, according to Watts. He said the fee structure was
              standard for this type of litigation.”

       93.    The statement is misleading and a fraud of omission. Defendants do not

inform corn growers that putative class actions on behalf of the solicited growers had

already been filed and consolidated in the federal MDL in Kansas. The claim that the “40

percent … fee structure was standard for this type of litigation” is misleading and an

effort to extract an unreasonable fee. The standard fee for class action litigation is

determined by the Court, as a fiduciary for the class members, and a typical common

fund fee assessment with huge common funds, like this Syngenta litigation, may likely be

around 10-12 percent.

       94.    The website states:
                                              33
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 39 of 142




              “This lawsuit is not a class-action case but rather a “mass tort” in which
              farmers file individual suits. But the cases are consolidated into a single
              civil action. Mass torts attempt to reduce the number of court cases by
              taking to court a small number of cases considered to be representative of a
              larger pool of plaintiffs. … In this case most of the cases are being
              consolidated in the federal court in Kansas with one judge overseeing it. …
              But Homolka’s group is fighting to keep the Minnesota cases consolidated
              in Minnesota. He (Homolka) argues that because Syngenta’s North
              American headquarters is based in Minnesota, his clients have a legal right
              to have their cases handled in Minnesota courts. .... Homolka said that if
              farmers don't file suit, which costs them nothing, they will most likely not be
              included in any eventual settlement. He and his team have been holding
              town hall meetings around the state to tell farmers about the case.”

       95.    The statements are misleading. The statements imply that the Syngenta

claims are a mass tort and not appropriate for class action treatment, which is false. The

statements imply that a “mass tort” is superior to a class action, which is false. The

statements imply that a “mass tort” is in the best interest of the corn growers, which is

false. The claim that if growers don’t sign up with Homolka and Watts, they will lose

their claims, when putative class actions are consolidated in the federal MDL covering all

of the growers in corn growing states, is false.

       96.    The website states: “Our contingency fee arrangement calls for a 60-40 split

in the event of a settlement, a standard fee in major litigation.” This is a misleading

statement and an effort to extract an unreasonable fee from uninformed clients.

       97.    The website suggests that the Watts Guerra group is doing corn growers a

favor by agreeing to pay for costs out of the 40 percent contingent fee. This is

disingenuous, a fraud of omission. The website does not inform growers that a 40 percent

                                             34
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 40 of 142




contingent fee is an unreasonable fee in huge common fund cases.

       98.    In a question and answer section of the website is the following (emphasis

added):

              “Q.    How much does it cost?

              A.     The agreement between parties is a contingency fee agreement. It
                     means YOU PAY NOTHING unless we secure a recovery for you.
                     When we do, it is split 60% (farmer) – 40% (lawyer) … you know
                     exactly what you are getting. … We do not believe that enticing
                     clients with low percentage deals (25-33% fees) than (sic) charging
                     after the fact for fees out of their control is the right way to do
                     things. The law allows firms to charge up to 49.9% once expenses
                     are included. Often in the end a 66% -- 33% deal becomes a 51-49%
                     deal.

       99.    The statement is intended to deceive corn growers, through

misrepresentations and omissions. The statement says nothing about the fact that in class

actions, cases with common facts and law and a common per bushel damage like

Syngenta litigation, the fees are determined by the presiding Judge as fiduciary for the

class. The statement implies that lawyers who charge 1/3 or less are somehow unethical

and not providing full disclosure. The statement implies that corn growers could be

charged as much as 49.9 percent of a claim recovery, and this is clearly unreasonable and

inconceivable for litigation like Syngenta with common facts and law and huge common

fund claim. Ironically, Defendants were looking in the mirror – a very dark mirror.

Through their “mass tort … individual suit” attorney fee fraud scheme, Defendants will

now attempt to extract a 46-54 percent attorney fee from each individual Farmer.

                                            35
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 41 of 142




       100.   Through 3DollarCorn.com and NorthDakotaLostCorn.com and other

coordinated websites, and community meetings and direct mailings, Watts Guerra and

joint venture partners aggressively solicited corn growers in 2014 and 2015 and into

2017, in North Dakota, South Dakota, Nebraska and other states.

       101.   In an August 17, 2015 advertisement in Agweek, the Watts Guerra group

boasted, like all its websites, that it had been appointed lead counsel for its Minnesota

lawsuits (emphasis in original and added):

              As of Friday, we represent 22,500 farmers and filed 92% of ALL CASES
              in the U.S. We thank (sic) for joining our team.
                            …..
              In order to collect damages, Corn Growers, Elevators & Grain Traders need
              to … sign up.

       102.   Defendants do not explain that there is a pending class action in the federal

MDL in Kansas covering essentially all 600,000 corn growers. The 22,500 individual

cases filed by the Watts group, the 40 percent contingent fee “mass tort … individual

suit” scheme, are less than four percent of United States corn growers.

       103.   Also, Defendants use the advertisement to scare corn growers that “to

collect damages” they must sign Defendants’ retainer agreement and pursue individual

lawsuits. This statement, alone, is false and a fraud of omission. Corn growers are never

informed that they are members of the putative class action in the federal MDL

proceeding in Kansas.

       104.   In similar October 5, October 19, October 26, November 2 and November 9

                                             36
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 42 of 142




media advertisements in Agweek, Defendants state: “There is No Cost & No Risk to you

but you must sign up to file your claim!” (Emphasis added). The statements are dishonest

and a fraud of omission because, of course, all 600,000 corn growers are members of the

putative class action underway in the federal MDL proceeding in Kansas. There is no

requirement that any grower sign up with the Watts Guerra group to pursue a claim. Class

members can simply wait until there is a settlement and submit a claim to the Claim

Administration Firm approved by the presiding court, as a fiduciary for the class.

       105.   In a direct mail solicitation letter sent to corn growers throughout the

Midwest in the summer of 2016, Defendant Dewald Deaver stated (emphasis added).

              We are filing individual claims for farmers (referred to as mass tort actions)
              rather than class action lawsuits. We anticipate that the attorneys filing the
              class action lawsuits will request the Court to certify their class by this Fall.
              If the class action lawsuits are certified by the Court, the Court may bar the
              filing of additional individual mass tort claims. The only way to ensure that
              you will be able to file an individual mass tort claim is to sign up before the
              class action lawsuits become certified. We would encourage you to review
              these materials, call us with any questions, and sign up before it is too late.”

       106.   The statement acknowledges that all individual lawsuits will become part of

the federal MDL and Minnesota class in the event of class certification, and thereby

overseen by the presiding courts as fiduciaries for the class members. What the statement

does not disclose, a fraud of omission, is that Watts Guerra and its joint venture partners

have entered into secret Joint Prosecution Agreements with the class counsel that exclude

all the individual lawsuits filed by the Watts Guerra group and its joint venture partners,

with 40 percent contingent free retainer agreements, from class membership.
                                              37
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 43 of 142




       107.   In other words, the Watts group throughout 2015 and 2016 deceptively

solicited corn growers for individual lawsuits, knowing that they had already excluded

growers who replied to their solicitations and signed 40 percent contingent fee retainer

contracts, from the federal MDL and Minnesota class actions with judicial oversight over

fee awards.

       108.   The letter solicitation also states that there is no risk to corn growers who

sign up for a 40 percent retainer: “We will NOT take any costs out of your 60% share.

This is far different from the class action route and far different than other contracts that

charge the farmer all or most of the costs of the lawsuit.” This statement is a fraud by

omission because it does not disclose that for corn growers in a class action, with perhaps

600,000 class members like the Syngenta case, the costs assessed as part of the common

fund for class counsel are minimal. The statement is misleading because it suggests

growers are getting a great deal with a 40 percent contingent fee, when in fact they are

being scammed, with attorney fees in the class action likely to be assessed at no more

than 10-12 percent of the common fund; that is, 10-12 percent of each grower’s claim.

       109.   The 3DollarCorn.com website has an article, authored by Watts, stating:

              “Mass Action vs. Class Action Lawsuits …. Currently, many law firms are
              seeking class action lawsuits against Syngenta. Unfortunately, class action
              cases usually result in outrageous fees for the attorneys pursuing them,
              while farmers and those directly impacted by Syngenta’s actions will only
              receive a nominal award. Unlike a class action suit, a mass action lawsuit
              can give farmers the representation and compensation they deserve,
              ensuring compensation is awarded based on actual damages as a result of
              Syngenta’s commercialization of unapproved traits. Unlike a class action
                                              38
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 44 of 142




              suit, a mass action will not be settled without your decision to opt-in to the
              proposed settlement.

       110.   The claim that class actions result in “outrageous” attorney fees is

untruthful. In class actions, attorney fee awards are approved by the presiding Judge as a

fiduciary for the class, after notice and a right by class members to object to the proposed

fee award.

       111.   In a July 5, 2015 post on the website Watts purports to inform prospective

clients why most lawsuits against Syngenta are filed in Minnesota state courts, rather than

in federal courts. Watts asserts that cases proceed faster in Minnesota, and trial rules are

more favorable to plaintiffs. Whether or not this is true, Watts never acknowledges that

his law firm had signed a secret Joint Prosecution Agreement with the federal MDL class

counsel and Minnesota class counsel to exclude the 60,000 Watts Guerra clients as

members of certified classes.

       112.   In a July 5, 2015 post, Watts authored an article explaining why his “mass

action” individual lawsuit method is superior to a class action. Says Watts (emphasis

added):

              The basic difference between class action cases and mass action cases is
              that the rules are different. Class actions may be initiated by an out-of-state
              lawyer having only one client (or only just a few), who will file suit on
              behalf of every corn farmer in the state – even though that lawyer will
              never even ask you whether you want to be represented. Instead, a class
              action lawyer need only have his or her case certified as a class action.

              Once certified, the class counsel may negotiate a settlement with the
              Defendant, and may do so without your written permission. Instead, they
                                             39
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 45 of 142




              need merely to give written public notice as ordered by the Court, usually
              on three occasions. As the joke goes, this class notice is often placed on
              page D-27 of the paper – in between the funeral pronouncements and the
              funny pages where no one is looking – with print so small that if class
              members don’t have their magnifying glasses with them, they will never
              know that they need to object in order to stop the settlement.

              Some past class actions have been criticized when lawyers receive millions
              of dollars in fees, while the “clients” receive only coupons. Stories are
              legion of class members, who had no real idea previously that a lawsuit had
              been filed on their behalf, opening their mail to find a letter informing them
              that “their case had been settled,” and that if they fill out a form, they are
              eligible to recover $3.38 cents, or mere pocket change. Fine print in the
              notice also points out that the lawyers will be paid millions of dollars. In
              the past, coupons have been offered for future purchases from the
              Defendant that both sides know will never be redeemed; nevertheless, these
              coupons have served as the basis for the “value” of the settlement, upon
              which huge attorneys’ fees are calculated. Of course, the obvious critical
              critique of this situation is that the financial interests of the attorney have
              deviated from those of his class clients. As such, some have argued that
              allowing the individual plaintiffs to pursue their claims with lawyers they
              have chosen themselves, and agreed to compensate based on a contingency
              fee – where the lawyer gets paid only a percentage of the actual dollars
              recovered by the plaintiff – is the superior way to go.

       113.   The statement is dishonest and a fraud of omission. Watts does not tell the

corn growers that his 40 percent contingent fee contracts greatly exceed the fees that may

be assessed by the Judge in the MDL class action proceedings, as a fiduciary for the

class. Watts does not tell his prospective clients that his firm has signed a secret Joint

Prosecution Agreement to exclude clients who sign his 40 percent retainers from class

treatment without their knowledge.

       114.   In a July 5, 2015 post Watts states:

              [A]t the very beginning, the client should ask, “What percentage of my
                                              40
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 46 of 142




              recovery will I have to pay for legal fees and expenses?” The standard
              contingency fee is 40% of the recovery, but some lawyers require the
              farmer to repay the litigation expenses out of the client’s share of the
              recovery. What seems like a 60-40 deal, becomes something much worse
              than that for the client, as the client’s share is eaten away by the repayment
              of significant litigation expenses. In our contracts, we make clear that the
              client is guaranteed a sixty-percent (60%) of the total recovery, with
              expenses being repaid from our 40% of the total recovery.

       115.   The statement is misleading and a fraud of omission. The expenses of a

class action with 600,000 claimants, in the context of a huge common fund, are not

significant, and must be approved by a Judge presiding over a class action, as a fiduciary

for the class. Watts leads unsuspecting growers to believe they are getting a great deal,

when he is luring them into an unconscionable 40 percent fee agreement, when they

could have no risk and only pay perhaps 10-12 percent of their claim for fees in the MDL

class action. Watts is the massage therapist who stealthily lifts the client’s wallet while

giving the massage.

       116.   A July 5, 2015 post by Watts discusses when Syngenta cases will settle and

how this relates to Statute of Limitation concerns:

              U.S. corn farmers must file their cases against Syngenta before their
              particular state’s statute of limitations distinguishes unfiled claims. … it
              will be in Syngenta’s best interest to wait until the statute of limitations in
              major corn producing states have expired (to settle). … There are over
              440,000 corn farmers in the United States, growing corn on more than 88
              million acres of farmland. Every statute of limitation that expires means
              that Syngenta will not have to pay the farmers who have failed to timely
              file their claims. Consequently, defendants in major mass tort litigations
              typically wait until the statute of limitations in major states have expired so
              that they may put a fence around their total liability, …

                                             41
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 47 of 142




       117.   A July 5, 2015 post on 3DollarCorn.com by Watts states in bold: “If the

suit is not filed by the time the statute of limitations runs, the lawsuit may not be

brought at all.” Watts then explains that twenty states produce almost 99% of the corn

grown in the United States, and Watts discussed the various state statutes of limitation

that may apply, including one, two and three-year limitations. Another July 5, 2015 post

by Watts states in bold: “It is anticipated that before the various corn producing

states’ statutes of limitations extinguish untimely claims, more than 100,000

farmers, landlords and grain elevators will have filed timely suit against Syngenta.”

       118.   The statements are intended by Watts to scare corn growers into quickly

signing up, online, to be a Watts Guerra client. Watts does not inform prospective clients

that a class action against Syngenta is underway in the MDL in Kansas, with claims in

the master complaint covering essentially all 600,000 growers in the United States. In

American Pipe and Construction Company v. Utah, 414 U.S. 538 (1974), the Supreme

Court held that the statute of limitations on a claim is generally tolled for members of the

putative class from the filing of the class action complaint until the denial of class

certification, so Watt’s professed concern over state statutes of limitation as an

exhortation to sign up with Watts Guerra and its joint venture partners, at a 40 percent

contingent fee, is misleading and a fraud of omission.

       119.   An August 5, 2015 post proclaims that “The Watts Guerra Team of

Attorneys Are LEAD COUNSEL.” The post claims that the Minnesota state court

                                              42
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 48 of 142




oversees “90 percent of the claims in the nation” when in fact the opposite is true.

Although 90 percent of the individual lawsuits against Syngenta were filed in Minnesota

by Defendants, these 60,000 lawsuits are only 10 percent of the 600,000 corn growers in

the United States, all covered under the federal MDL in Kansas and a Minnesota class

action for Minnesota residents.

       120.   A September 4, 2015 website post, purports to explain why “mass action”

suits are superior to “class action” suits:

            Class Actions May be initiated by an Out-of-State Lawyer Having Only
             One Client (or Only Just a Few), who will file Suit on Behalf of Every Corn
             Grower in the State – Even Though That Lawyer will Never Ask you
             Whether You Want to be Represented.
            Class Action Lawyers May Settle Your Case Without Your Written
             Permission; Instead, They Need Merely to Give Written Public Notice on
             Three Occasions.
            Some Past Class Actions Have Been Criticized When Lawyers Receive
             Millions of Dollars in Fees, While the “Clients” Receive Only Coupons.
            Based on Precedent in the GMO Rice case, if the class action is not
             certified, thousands of individual farmers with their own lawyers will then
             be free to pursue their claims against Syngenta.

       121.   The statement is misleading and a fraud by omission. It misinforms corn

growers about the procedural operation of a class action, suggesting that growers who do

not file claims have no choice as to whether or not they have the right to participate in the

class, assuming it is certified, through opt-out procedures.

       122.   The statement that class action lawyers may settle a case without

permission is misleading. A settlement occurs only after class notice with a right to

object, and approval by the presiding Judge, a fiduciary for the absent class member, who
                                              43
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 49 of 142




makes a determination about the reasonableness of the settlement.

      123.   The criticism of class actions, suggesting they are a cash cow for lawyers

with clients receiving only coupons, is misleading. The irony is that Defendants are

running a massive fraud scheme against United States’ corn growers, an attempt to

exploit growers for a 40 percent attorney fee, while never informing growers that a

reasonable fee in a class action settlement with a common fund exceeding $1 billion may

be no more than 10-12 percent of the common fund.

      124.   An August 31, 2015 post on 3DollarCorn.com discusses the need to keep

corn growers informed: “How Will We Keep You Informed of What Is Going On With

Your Syngenta GMO Corn Lawsuit? The post is untruthful and a fraud by omission.

Defendants never informed growers that they were effectively represented by class

counsel in the consolidated federal MDL class action in Kansas. Nor were growers who

had signed Defendants’ 40 percent contingent fee retainers informed of Defendants’

decision to exclude all 60,000 of their individual clients from the federal MDL and

Minnesota class actions.

      125.   An August 31 post discusses Defendants’ process for keeping corn growers

informed, through status updates and documents loaded onto its solicitation websites like

LostCornIncome.com and 3DollarCorn.com. And yet, Defendants never discussed nor

loaded the secret Joint Prosecution Agreements onto its websites; the secret agreements

with class counsel in the federal MDL filed under seal, automatically excluding

                                            44
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 50 of 142




Defendants’ clients from the class proceedings and agreeing to pay 5.5 percent of an

individual grower claim recovery as a contribution for a common fund fee and costs

assessment to MDL class counsel and 5.5 percent to Minnesota class counsel.

       126.   An August 31, 2015 post by Watts purports to answer the question: “When

Will the GMO Corn Lawsuits Against Syngenta Be Settled? The post exhorts prospective

clients who have not yet signed retainer agreements with the Watts Guerra group, that

statutes of limitation may run against growers, preventing their claims: “U.S. corn

growers must file their cases against Syngenta before their particular state’s statute of

limitations distinguishes unfiled claims.” This scare tactic is dishonest and a fraud by

omission. The pending class actions in the federal MDL in Kansas covered all 600,000

U.S. corn growers and there was no reasonable basis for a concern that statutes of

limitation would prevent the filing of claims against Syngenta. The post also asserts that

Syngenta is waiting for the statutes of limitation to run in corn growing states to limit the

pool of prospective claimants. This is dishonest. The class actions already cover all

600,000 corn growers, and Syngenta, like Watts Guerra and its joint venture partners,

know this. Of course, the growers don’t know this, so Watts attempts, in August of 2015,

nine months after class actions covering United States corn growers were consolidated in

the federal MDL in Kansas, to play the statutes of limitation as a scare card to lure more

growers into his attorney fee fraud scheme.

       127.   An August 31, 2015 post by Watts boasts that 90 percent of the Syngenta

                                              45
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 51 of 142




lawsuits have been filed in Minnesota and the Watts Guerra firm is lead counsel for that

group:

                Over 90% of the Syngenta claims in the nation were filed in state court in
                Minnesota, and 10% of the claims have been filed in federal court in
                Kansas City, Kansas.

         128.   This boast is misleading and a fraud by omission. Although 90 percent of

the individual lawsuits against Syngenta were filed in Minnesota by Defendants, these

60,000 lawsuits are only 10 percent of the 600,000 corn growers in the United States, all

covered under the federal MDL in Kansas and a Minnesota class action for Minnesota

residents.

         129.   A September 4, 2015 post expounds on how Watts Guerra has kept corn

growers informed, boasting that “we have given numerous press interviews and posted

many information articles on the internet in an effort to fully inform corn growers of their

rights … .” Defendants do not inform the solicited growers that they are putative

members of the MDL and Minnesota class actions. Defendants do not inform growers

that class action counsel in the federal MDL in Kansas have the lead role in litigating

growers’ claims. Defendants do not inform growers that a common fund fee assessment,

in the event of a recovery by settlement, may be perhaps 10-12 percent of the common

fund, whereas Defendants exploit growers for a 40 percent contingent fee. Defendants do

not inform growers that they excluded all 60,000 of their clients from the class actions in

the federal MDL and Minnesota, so that Defendants can attempt to collect a 40 percent

                                              46
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 52 of 142




contingent fee from each individual claim, without the oversight of the courts.

       130.   A September 4, 2015 post purports to answer the question as to why so

many corn growers hired the Watts Guerra group: “How Did So Many Farmers Hire

Your Law Firm to File Their GMO Corn Lawsuit Against Syngenta? The suggestion in

the response is that Watts Guerra and its joint venture partners are knowledgeable and

superior lawyers. What the post disingenuously does not explain, is that Watts Guerra

and its joint venture partners have blanketed the media and conducted hundreds of

meetings across the corn belt, through the implementation of a massive attorney fee fraud

scheme. The intent was to target corn growers, who were already members of a putative

federal MDL class action in Kansas, by soliciting growers to a “mass tort … individual

suit” fraud scheme, with growers dishonestly told that “only those who sign up (with

Defendants) are eligible to pursue claims.”

       131.   A September 11, 2015 post on 3DollarCorn.com by Defendant Jon Givens

and Givens Law, LLC, an attorney associated with Watts Guerra, LLP and a joint venture

partner, boasts that the Watts Guerra group has filed 90 percent of the Syngenta claims

across the United States, with the balance of the claims, 10 percent, consolidated in the

federal MDL in Kansas. Givens thereby suggests that the Watts Guerra group is leading

the charge against Syngenta. The Givens post does not explain that there are 600,000

corn growers in the United States effectively covered by the federal MDL class action

and Minnesota class action for Minnesota residents, and the 60,000 “mass tort …

                                              47
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 53 of 142




individual suits” filed by the Watts Guerra group in state courts in Minnesota are just 10

percent of the corn growers in the United States.

       132.   Corn gowers were told, again and again, that a “mass tort … individual

suit” is better than a class action, because class actions only recover coupons for

plaintiffs. Said Bill Enyart, a member of the Watts Guerra law firm to a meeting of

growers in Champaign, Ill. on September 23, 2015, reported in The News-Gazette

(emphasis added):

              Additionally, the firm is filing suits in Minnesota, where Syngenta Seeds is
              located, as opposed to filing in a federal court. …. Enyart said the
              advantage to this was that instead of getting a discount for seed corn in the
              future, as in a class-action case, there would be a gross settlement fee and
              the firm would simply send the farmer a check.

       133.   The statement is misleading and a fraud of omission. There is no basis in

law or fact for Watts Guerra to tell corn growers that a class action only recovers a

discount for future purchases of seed corn, whereas a “mass tort … individual suit”

handled by Watts Guerra puts a big check into the producer’s hand.

       134.   A September 30, 2015 post by Givens on 3DollarCorn.com purports to

explain how prospective clients should compare retainer agreements from different law

firms. Givens acknowledges that the federal MDL and the Minnesota courts have

approved, as a prospective fee, an award of 11 percent – 8 percent for fees and 3 percent

for costs. This sum is paid to lead counsel by any lawyer submitting a claim:

              Let’s assume the facts for an example: assume the fee agreement says the
              lawyer is charging his costs to your share and then charging you a 30% fee
                                             48
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 54 of 142




              based on the net (with net defined as net of court ordered or MDL fees and
              expenses). In this example 11% would come out of your claim for MDL
              expenses leaving your net recovery of 89% of your claim. Next the lawyer
              takes his costs out of your claim (which will be your share of expenses the
              lawyer spends). Finally, the lawyer will take 30% of what remains for
              himself, leaving you an apple that has been bitten 3 times already. Thus
              what looks like a bargain of a 30% legal fee might actually be a worse deal
              than a 40% legal fee where the lawyer assumes all those expenses and
              unknown costs and risks.

       135.   Defendants’ hypothetical is a misleading effort to scare the prospective

client into believing other firms will rip the client off, while Watts Guerra is protecting

the client. In fact, if there was a two-prong settlement, as attempted by Defendants

through the September 25, 2017 settlement term sheet, with a class action settlement and

a separate settlement for Defendants’ 60,000 individual lawsuits, members of the class

may be charged 10 percent of their claim toward attorneys’ fees, whereas Defendants

would attempt to charge Farmers – in a Texas county court with no previous connection

to the litigation – the 40 percent contingent fee set forth in the retainer contracts.

       136.   With the ultimate February 26, 2018 national class action settlement as set

forth in the Settlement Agreement, covering all corn growers in the United States, when

Defendants submit Farmers’ claims, Farmers will pay two sets of lawyers: (1) class

counsel through a fee award as a percentage of the common fund; and (2) Defendants

under the terms of the individual contingent fee contracts. As discussed, if class counsel

are awarded 10 percent of the common fund as an attorney fee by the MDL court,

individual members of the class will pay 10 percent of their claim payment for attorneys’

                                              49
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 55 of 142




fees, whereas Farmers will pay a grotesque 46 percent of their claim payment for

attorneys’ fees. If class counsel are awarded 30 percent of the common fund as an

attorney fee, individual members of the class will pay 30 percent of their claim payment

for fees, whereas Farmers will pay 58 percent.

       137.   A September 30, 2015 post on 3DollarCorn.com purports to advise corn

growers how to choose their attorney:

           Will MDL (Multi District Litigation) expenses or other hidden fees be
            charged to my claim?
           Will I have an individual claim or be part of some class were I have no
            choice?
           Will you file my claim in a State Court like ADM and Cargill, or stick me
            in federal court?
           Will your expenses come out of my share?

       138.   The statement is misleading and a fraud by omission. Defendants suggest

that a federal MDL proceeding has hidden expenses charged to consumer claims. In fact,

the presiding Judge in the MDL class action is a fiduciary for the class, and class counsel

must submit fee and expense applications that are approved by the Judge, with published

notice to class members. There are no “hidden” expenses. In any event, the expenses,

spread over 600,000 corn growers across the United States, are minimal and vastly

smaller than the unreasonable 40 percent attorney fee scheme by Defendants.

       139.   Farmers did not have an informed “choice” when Defendants signed secret

Joint Prosecution Agreements with class counsel in the MDL and Minnesota to exclude

Farmers from the class action lawsuits, so that Defendants could pursue their attempt to

                                            50
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 56 of 142




collect an unreasonable 40 percent contingent fee from each Farmer.

       140.   The suggestion that corn growers should file individual claims, because

major world corporations, ADM and Cargill filed individual claims, is intended to

mislead growers. One cannot compare a claim by a grower with 200 acres of corn to a

claim by Cargill, the largest private corporation in the world.

       141.   The suggestion that it is improper for attorneys to take expenses out of the

client’s share is misleading. Defendants do not inform corn growers that their attempted

40 percent contingent fee will hugely exceed the fees and expenses paid by members of

the class action proceedings.

       142.   An October 1, 2015 post states (emphasis in original):

              Why Would You Not Sign Up? At the town hall meetings, the most
              commonly asked question by corn producers is some version of: “Why
              wouldn’t you sign up?”; “This is a ‘no brainer” isn’t it?” “Why on earth
              would somebody not sign up?”; or “Is there any reason to not sign up?”.
              On occasion the question is asked with colorful adjectives Most growers
              who bother to educate themselves about filing a claim against Syngenta for
              wrecking the corn market price, whether by reading or attending a meeting,
              reach the conclusion that they should, in fact, file a claim to recover their
              corn price losses for 2013, 2014 and 2015 caused by Syngenta. ADM and
              Cargill filed claims against Syngenta for wrecking the corn market.
              Farmers, who look into how they can recover their losses, frequently decide
              to make the same decision as ADM and Cargill and file a claim.
              Additionally many elevators and co-ops have made the no-risk decision to
              file a claim. As of September 15, 2015, the Watts Guerra LLP firm
              represents over 30,000 corn growers and around 4,000 of those corn
              growers live in Nebraska. Tens of thousands of farmers have decided to
              hire our firm on a contingency fee basis. This means if there is no recovery,
              there is no fee owed to our firm, Watts Guerra LLP and their local
              Nebraska co-counsel are not owed anything by growers unless a recovery
              is made for the grower. If nothing is recovered for a particular farmer then
                                             51
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 57 of 142




              that client owes the firm nothing, not one dime. However, there is real
              upside potential. …

       143.   The statement is misleading and a fraud by omission. The statement does

not honestly advise corn growers that, with class actions pending in a federal MDL and

Minnesota, they do not need to do anything, and thereby incur no risk. The statement

does not disclose that growers will be charged grotesquely higher fees than those growers

who did not retain Defendants.

       144.   A July 1, 2016 Update of Claim Status by Watts on 3DollarCorn.com

acknowledges, for the first time:

              “There is a motion in the Federal case to certify a class. This motion was
              filed June 15, 2016. We are not doing a class action but filing individual
              claims, as we don’t want another Starlink matter. We represent over 50,000
              growers who have elected to not be in a class action, but instead to file
              individual claims.”

       145.   The statement is misleading and a fraud of omission. Watts disparages class

actions by comparing Syngenta to Starlink, a different case with different facts. Watts

does not explain that the 60,000 individual clients of Watts Guerra are putative members

of the class actions in federal court. Watts does not acknowledge that there is also a

motion for class certification filed in the Hennepin County proceedings in Minnesota on

June 15, 2016, covering Minnesota corn growers, and this also covers the Watts Guerra

clients who are Minnesota residents. Watts does not explain that putative class members

are and remain class members unless they affirmatively opt-out of the class proceedings.

Watts does not inform his 60,000 clients and prospective clients that he entered into
                                             52
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 58 of 142




secret Joint Prosecution Agreements with the class counsel in the federal MDL and

Minnesota to exclude his 60,000 clients as class members. Watts does not inform his

60,000 clients and prospective clients, that his 40 percent contingent attorney fee will

greatly exceed the fees that may be assessed for claims in the class actions in federal and

state court.

       146.    In a July 2, 2016 news update, Watts writes that a Special Master has been

appointed in the federal MDL litigation in Kansas and the Minnesota proceedings:

“Since settlement discussions are underway, it is important for any corn, soybean and

milo growers who want to participate in the settlement, to sign up (with Watts Guerra,

LLP) as soon as possible, so they don’t get left out.”

       147.    The statement is dishonest and a fraud of omission. Watts does not inform

his 60,000 clients and prospective clients that the settlement discussions involve all corn

growers as a global settlement. All growers are covered through the class actions

underway in the federal MDL in Kansas and Minnesota. The idea that growers have to

quickly rush to sign with Watts Guerra and joint venture partners, to have a seat at the

settlement table, is dishonest, an effort by Watts Guerra and its joint venture partners to

exploit corn growers to sign unreasonable 40 percent contingent fee agreements.

       148.    Despite pending motions for class certification in the federal MDL and the

Minnesota state court, Defendants continued to solicit farmers on-line and in community

meetings for their “mass tort … individual suit” attorney fee fraud scheme. From

                                             53
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 59 of 142




MidwestCornLawsuit.com on August 8, 2016, was this (emphasis added):

              MN Judge extends deadline til (sic) December 11, 2016. It’s not too late to
              sign up.

              Join the more than 50,000 corn farmers who have stood up to Syngenta and
              their reckless business practices. If you grew corn in 2013, 2014 or 2015
              you lost income due to Syngenta’s careless actions

              It’s Time To Hold Syngenta Accountable (with direction for the farmer to
              contact Watts Guerra and sign a retainer agreement with Watts Guerra and
              joint venture partners).

       149.   The solicitation is misleading and a fraud of omission. The statement

suggests the only claims claims against Syngenta are the 60,000 claims filed by the Watts

Guerra group, and makes no mention that all 600,000 corn growers across the United

States, including the targeted and still unsigned growers, are class members in the federal

MDL and Minnesota class actions.

       150.   Despite certification of a nationwide class of corn growers and nine state

bellwether classes by the federal MDL Court on September 26, 2016 and the Minnesota

court for Minnesota growers on November 3, 2016. Defendants continued to solicit corn

growers across the Corn Belt with illusory deadlines and other misleading solicitations

through direct mailings and on coordinated websites. Defendants exhorted growers on

December 8, 2016 on their 3DollarCorn.com website:

              Please Call Us or Explore our Website to Learn Why Thousands of Farmers
              have Filed Individual Claims Against Syngenta for Destabilizing the Corn
              Markets. We Are Here To Help You! To date over 54,000 farmers have
              filed claims with our team.

                                            54
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 60 of 142




The website does not inform growers that they are putative members of a certified class

of growers. Rather, the website exhorts growers who are “ready to make the no risk

decision to file a claim” that they should fill out the on-line application and retainer

agreement.

       151.   In a direct mailing to corn growers in early 2017, Defendants proclaimed:

       OUR EXPERTS WILL TESTIFY TO $1.90 PER BUSHEL IN DAMAGES
               DEADLINE TO SIGN UP IS JANUARY 25, 2017

Defendants sent this misleading solicitation after class certification, while litigating the

consolidated individual cases in Minnesota through a Joint Prosecution Agreement with

lead counsel in the federal MDL “because we believe [individual claims] will yield a

much better recovery for farmers.” Defendants’ letter does not inform the grower that the

damage experts were retained by the MDL class counsel. Defendants’ letter does not

inform the grower that two experts attest to damages of 48.69 cents a bushel and 40.90

cents a bushel for corn growers across the United States, covering a five-year period from

2013-18. Defendants’ dishonest communication was intended to excite corn growers to

the possibility of a significant damage claim, and thereby sign Defendants’ individual 40

percent attorney fee contracts, despite the pending MDL class actions. And Defendants

continue to exhort growers that individual claims are superior to a class action.

Defendants do not explain the benefits of class proceedings, where attorney fees are

assessed after notice to the class and consideration of objections by absent class

members.
                                              55
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 61 of 142




       152.   On 3DollarCorn.com and other websites on February 22, 2017, Defendants

continued to exhort corn growers:

              Sometime in March 2017 will be the final opportunity to file an individual
              claim with our firm. Watts Guerra will stop taking any new grower clients
              by the end of March 2017. Your opportunity to have an individual claim
              with us is ending. While our firm represents over 50,000 growers with
              individual claims … there are also some lawyers representing a class
              action. Our clients who were signed up by June 15, 2016, are automatically
              excluded from being in the class. You can either have a class claim or an
              individual claim but not both. Any grower who meets the class definition
              (grew corn but not a Syngenta seed) will automatically become a member
              of a class and prevented from having an individual negligence claim like
              the over 60,000 other corn growers who chose to file an individual claim.
              ….
       153.   Defendants’ misleading website again provides no analysis of the benefits

of a corn grower remaining in the class, and simply filing a claim with the claim

administration firm in the event of settlement or recovery. The communication misleads

growers that Defendants’ “mass tort … individual suit” approach will get a better result.

Nowhere do Defendants disclose or discuss their Joint Prosecution Agreements with

federal MDL and Minnesota class counsel.

E.     60,000 Individual Lawsuits Filed In Minnesota State Courts

       154.   In early 2015 Defendants began aggressively filing hundreds of individual

Farmer lawsuits against Syngenta in district courts in Minnesota. Syngenta removed each

case to the federal MDL proceeding in Kansas. Syngenta claimed that the Minnesota state

court lawsuits presented a federal question under the federal common law of foreign

relations because of China’s right to regulate genetically modified crops within its

                                            56
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 62 of 142




borders.

       155.   Defendants successfully opposed removal to the MDL, with Judge

Lungstrom concluding that federal common law of foreign relations did not apply. In

opposing removal, Defendants claimed to the media that the attempted removal by

Syngenta was “a blatant attempt to shoehorn [Farmers] into litigating [their individual

claims] in an MDL format that is more convenient for Syngenta.” Although Syngenta

surely wanted to litigate all claims in a single forum, Defendants’ media claim was

disingenuous. They did not disclose that they fought removal so they could proceed with

their “mass tort … individual suit” 40 percent attorney fee gambit, rather than having

Farmers participate in the class action proceedings in the federal MDL with much lower

attorney fees and costs assessed against each Farmers’ claim in the event of a recovery.

       156.   Defendants asserted in each individual memorandum opposing removal that

their client “does not have the time or resources to litigate” the case in Kansas federal

court, and the decision to pursue only state claims was intentional. And yet, after remand,

Defendants entered into secret Joint Prosecution Agreements with the class counsel in the

MDL in Kansas and Minnesota, with an explicit agreement to exclude the 60,000

Farmers from class certification proceedings. Defendants sought automatic exclusion for

Farmers from the class so that if the classes were certified, they would not have to

disclose class membership to Farmers and affirmatively opt Farmers out of the class, and

thereby have to explain to each client the pros and cons of class membership as opposed

                                             57
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 63 of 142




to an individual action.

       157.   Although Defendants repetitively boast through their solicitations that their

“mass tort … individual suit” model is superior to class actions, they used the secret Joint

Prosecution Agreements with the federal MDL counsel, never disclosed to Farmers and

never approved by the respective courts and filed under seal, to cooperatively litigate the

cases. Defendants acknowledge this cooperative litigation effort in a December 1, 2015

update of the litigation status to Farmers, when Frank Guerra writes:

              “The Plaintiffs’ Steering Committee in Minnesota, led by Frank Guerra,
              and three other co-lead counsel from Minneapolis – Lew Remele, Dan
              Gustafson and Bill Sieben is working together with co-leads from the
              federal court MDL to schedule discovery in an expeditious manner, and to
              share work product in order to prosecute the cases of our clients in the most
              efficient manner possible.”

       158.   Defendants thereby acknowledge their “mass tort … individual suit”

advertising solicitations were a scam. Defendants consolidated individual lawsuits in

Minnesota were cooperatively litigated with counsel in the federal MDL, with the MDL

counsel taking the lead role in exchange for a 5.5 percent common benefit fee payment

by Defendants in the event of a recovery for corn growers. Syngenta likewise litigated the

MDL and Minnesota class action and Defendants’ consolidated individual claims as the

same essential proceeding. With the class actions and consolidated cases litigated as the

same proceeding, Defendants’ claim to Farmers that their individual suits would achieve

a better result than the MDL class action was always misleading.

       159.   Defendants’ litigation status updates, like all client communications, were a
                                             58
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 64 of 142




fraud of omission. Defendants did not inform Farmers that class certification proceedings

were underway in the federal MDL and Minnesota. Defendants did not inform Farmers

that they were putative class members in the MDL when their individual cases were filed

in Minnesota state courts. Defendants did not inform Farmers they had entered into Joint

Prosecution Agreements with MDL class counsel to exclude Defendants’ 60,000

individual clients from class certification proceedings. Defendants sold away the

Farmers’ right to participate in a class action resolution, with no knowledge and informed

consent and no consideration for Farmers.

F.     Secret Joint Prosecution Agreements To Exclude 60,000 Farmers From Class
       Actions In Federal MDL In Kansas And Minnesota

       160.   Filing and litigating an individual case is not enough to opt out of a class

action. A party who wants to opt-out needs to follow the specific procedures set by the

court in an order certifying the class or approving a class settlement. Fed. R. Civ. P. 23;

Minn. R. Civ. P. 23. Knowing this, Defendants contrived a scheme to exclude their

60,000 clients, with lawsuits filed in Minnesota, from class certification proceedings in

the MDL and Minnesota.

       161.   It would be awkward for Defendants to have to communicate with each of

their individual clients, to get the corn growers’ signatures to opt-out of a certified class,

after spending months telling growers that their “mass tort … individual suit” model was

superior to a class action. It would be awkward for Defendants to explain to their clients

that the class action counsel in the MDL in Kansas had the lead role in litigating the
                                              59
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 65 of 142




Syngenta lawsuits, after months of telling growers that class action counsel are

ineffective and inefficient. It would be awkward for Defendants to explain to their clients

that in a class action, attorney fee awards for huge common fund cases like Syngenta are

typically 10-12 percent of the common fund, as opposed to the 40 percent contingent fee

attempted by Defendants through their “mass tort … individual suit” advertising con.

       1.     Joint Prosecution Agreement

       162.   Defendants thus concocted a scheme to buy their 60,000 clients out of the

class certification proceedings – a pay-for-exclusion scheme – through an agreement to

not contest class certification in the MDL and pay the MDL counsel some portion of a

common benefit fee, if the MDL counsel agreed to exclude the 60,000 Watts Guerra

clients from class certification and notice requirements, with no need for each class

member to affirmatively opt-out of the class to continue to proceed as an individual

claim. Defendants accomplished this scheme through a secret Joint Prosecution

Agreement with the MDL class counsel, filed under seal, with the opt-out provision never

discussed or disclosed to Farmers, the Watts Guerra clients. This is an epic fraud of

omission; a violation of Defendants’ fiduciary duties of disclosure to Farmers; a violation

of Rule 23 requirements to provide informed notice to putative class members with a

right to opt-out through their own signatures, thus signifying informed consent to the

presiding court; and a breach of professional ethics rules requiring that clients be

reasonably informed of all litigation options and consent to those options.

                                             60
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 66 of 142




       163.   Of the 600,000 corn growers in the United States, the overwhelming

majority of all individually filed cases, about 90 percent of the individual cases, are the

60,000 cases filed by Defendants in Minnesota. See Coordination Order, In Re: Syngenta

AG MIR162 Corn Litigation, No. 14-MD-2591 Doc. No. 1099 at 1. Defendants entered

into a private side-deal with federal MDL class counsel to opt-out of the MDL class

action upon certification. See Amended and Restated Joint Prosecution Agreements,

dated June 18, 2015 (“JPA”) (stating individual growers whose counsel executed the JPA

are excluded from any MDL class).

       164.   The JPA states:

              None of the Federal MDL Co-Leads will propose to certify any litigation or
              settlement class that includes any [Watts Guerra group clients] whose
              Syngenta Case was filed in State Court and is pending as of the date of
              such motion for class certification and whose name is included on the
              Excluded Client List as of the date of such motion for class
              certification (the “Excluded Clients”); if any of the Federal MDL Co-Leads
              seek to certify any litigation or settlement class such co-leads will expressly
              exclude from his/their proposed class definition(s), and will advocate for
              the exclusion and oppose the inclusion of, all Excluded Clients. Id. at 14.

       165.   This exchange, however, was not free. Specifically, the Defendants who

executed the JPA for their 60,000 individual lawsuit clients expressly agreed not to

oppose class certification. The JPA stated: “None of the members of the [Watts Guerra

group] will oppose class certification in the Federal MDL as such certification excludes

from its class definition(s) the Excluded Clients.”

       166.   Additionally, Defendants agreed to pay for the agreement that they would

                                             61
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 67 of 142




not be required to opt-out their 60,000 individual clients from the class proceedings by

consenting to pay MDL class counsel one-half (5.5 percent) of the 11 percent common

benefit attorney fee and costs assessment by the federal MDL court for attorneys with

clients in the MDL.

       167.   Farmers were never informed by Defendants of this secret side agreement;

an agreement that takes the huge step of automatically opting Farmers out of the federal

MDL class certifications, without disclosure and informed consent by the clients.

       168.   Defendants never disclosed the JPA to Farmers, because Defendants

wanted to protect their right to collect their “mass tort …individual suit” 40 percent

attorney fee from each client. Defendants did not want to lose Farmers to the class action

proceedings, effectively underway in the federal MDL since the December 11, 2014

MDL panel consolidated all pending federal cases in the U.S. District Court of Kansas,

and where Farmers may be assessed only 10-12 percent of their claim for attorney fees

and costs.

       2.     Minnesota Participation Agreement

       169.   The side-deal was not limited to Defendants and the MDL class counsel – a

nearly identical tag-along agreement exists between Defendants and the Minnesota class

counsel. On April 11, 2016, the MDL and Minnesota Liaison Counsel sent an email to

the lawyers involved in the Minnesota litigation, attaching a copy of the Minnesota

Participation Agreement (“MPA”). See Email, dated April 11, 2016. The MPA includes

                                             62
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 68 of 142




nearly identical language as the JPA which contractually excluded Defendants’ 60,000

Farmers from any class and precluded the individual Farmers from contesting the class.

Specifically, the MPA states:

              None of the MN MDL Co-Leads will propose to certify any litigation or
              settlement class that includes any Minnesota Client whose Syngenta Case
              was filed in Minnesota state court and is pending as of the date of any order
              granting class certification and whose name is included on the Client List as
              of the date of such order granting class certification (the “Excluded
              Clients”); if the MN MDL Co-Leads seek to certify any litigation or
              settlement class, they will not include in their proposed class definition(s)
              any Excluded Clients, unless Participating Counsel consents to the same;
              and

              Participating Counsel will not oppose class certification in the MN MDL if
              the MN MDL Co-Leads exclude from their proposed class definition(s) all
              Excluded Clients …

See MPA, pp. 21-22 at ¶ d.i. & ii.

On June 13, 2016, Liaison Counsel sent an email confirming the arrangement:

              Under the Joint Prosecution Agreement, cases on file in the MN need to be
              certified to MDL Counsel in order to be opted out of the MDL class.
              Please provide the following to MDL Counsel:

              -   List of all cases currently on file in MN
              -   the attached declaration (sic)

See email, dated June 13, 2016. The attached declaration, in relevant part, required

signatories to the MPA to confirm:

              We possess records identifying the names of such producers so that they
              can be excluded from any class in the above-captioned multidistrict
              litigation based on objective criteria.

In other words, like the JPA, the MPA excluded Defendants’ 60,000 clients – 9000
                                             63
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 69 of 142




Minnesota farmers – from class certification and notice and opt-out requirements, in

exchange for a promise not to oppose class certification, and required participating

counsel to pay an 11 percent assessment into a Minnesota common benefit fund, directing

50 percent of the total 11 percent common benefit fees (5.5 percent), assessed by the

federal MDL court to Defendants for transfer to the MDL class counsel as required by the

JPA, and 50 percent of the 11 percent (the second 5.5 percent) to Minnesota class

counsel. The JPA and MPA were cash-for-exclusion deals. It was back-scratch fever;

Defendants would not contest class certification in the federal MDL and Minnesota and

would pay MDL and Minnesota class counsel to abandon their fiduciary role to all

putative members of the class, and agree to exclude Defendants’ 60,000 clients from class

certification and notice and opt-out requirements, with the sleight-of-hand claim that

Defendants’ 60,000 clients, corn growers across the United States similarly situated to the

corn growers in the MDL and Minnesota, were never part of the class.

       3.     Fraud Of Omission, Breach Of Fiduciary Duty And Professional Ethics
              Disclosure And Informed Consent Requirements

       170.   Defendants sent Syngenta Litigation Newsletter(s) to Farmers on April 1,

2015, May 6, 2015, June 9, 2015, August 25, 2015, and December 1, 2015; April 12,

2016 and October 21, 2016; March, 2017 and September 26, 2017, and February 9, 2018.

The 2015 and April 12, 2016 letters do not acknowledge or discuss the terms of the JPA

or MPA.

       171.   By October 21, 2016 letter, sixteen months after the June 18, 2015 amended
                                            64
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 70 of 142




JPA was entered into with the federal MDL counsel, and a month after the MDL class

was certified as a national class on September 26, 2016, Watts Guerra finally notified

Farmers of the existence of the JPA, but even then, not addressing the terms or explaining

why they excluded Farmers from the class proceedings (emphasis in original):

              On September 26, 2016, United States District Judge John Lungstrum
              certified a nationwide class action in this case. Since then, we have received
              numerous client calls asking how this ruling affects their claim against
              Syngenta. Because of a joint prosecution agreement we negotiated with the
              class action lawyers, it does not affect your claim. By agreement, any
              case filed by our law firm on or before June 15, 2016 is excluded from the
              class definition. While we continue to amicably work with the class action
              lawyers, our clients are entitled to pursue their own lawsuits, and do
              not even need to opt out of the class.

       172.   The foregoing letter explanation is utterly silent on core requirements

related to the class notice process under Fed. R. Civ. P. 23 and Minn. R. Civ. P. 23 and

Minn. R. Prof. Conduct (MRPC) 1.7 (litigation options and benefits and informed

consent). Worse, nothing in the letter gives any inkling to these 60,000 putative class

members that they can, in fact, participate in the federal MDL or Minnesota classes or

that class participation may be in their best interests. The communication calls into

question any assertion that the 60,000 putative class members are choosing to exclude

themselves from the class based on their own, knowing decision with advice and counsel.

See MRPC 1.7. Ultimately, there is simply no indication that excluded class members

received unbiased information about the federal MDL and Minnesota class actions,

including pros and cons. No previous case in the entire expanse of American

                                             65
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 71 of 142




jurisprudence endorses the proposition that class counsel – the fiduciary for the entire

class – may agree to exclude certain putative class members from the notice process in

exchange for an agreement by certain lawyers to not contest class certification and an

exchange of money and favors.

       173.   As a result of the JPA and MPA, the 60,000 Watts Guerra clients, Farmers

in this case, were expressly excluded from class participation in the federal MDL. The

MDL court defined the class, in relevant part, as all corn growers in the United States

who priced at least one bushel of corn after November 18, 2013, “unless that farmer filed

a Minnesota lawsuit on or before June 15, 2016, which causes the producer to be

excluded from the class.” See Notice of Class Action Lawsuit.

       174.   The Minnesota trial court defined the Class, in relevant part, as follows:

              All Minnesota producers that priced corn after September 2013. Excluded
              from the Class are … any producers listed on the Minnesota Class
              Exclusion list filed with this Court (attached as Exhibit A to an affidavit of
              Minnesota class counsel).

Order, In re: Syngenta Litigation, No. 27-CV-15-3785, at 1 (Henn. Cty. Feb. 10 2017)

(“Amended Class Definition Order”). The actual effect of the Amended Class Definition

Order is to define the class as follows:

              All Minnesota producers that priced corn after September 2013, except
              those whose attorneys agreed to not contest class certification and pay to
              class counsel a portion of their fees pursuant to a private agreement,
              precluding their clients from receiving notice and exercising their right to
              choose to join the class.

       175.   As a result of the JPA and MPA, the 60,000 Watts Guerra clients were
                                             66
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 72 of 142




expressly excluded from class participation in the federal MDL and about 9000 of the

60,000, who are about 30 percent of the 32,000 Minnesota corn growers, were also

excluded from the Minnesota class. In short, the due process and equal protection rights

of 60,000 Farmers were not protected; they were not able to exercise their individual

right to be part of the class or opt-out of it; they were not given court-approved notice

that they were members of the class proceedings nor were they able to make their own

choice in deciding whether or not to opt-out of the federal MDL and Minnesota classes.

       176.   This overt exclusion of the 60,000 Watts Guerra clients through secret side-

agreements, never disclosed to the Farmers until sixteen months after the agreements

were negotiated and signed, and never explaining why Farmers were automatically

excluded from the federal MDL and Minnesota classes, is a fraud of omission by

Defendants and violates Defendants’ fiduciary obligations to the Farmers and

professional responsibility rules requiring that clients be reasonably informed of litigation

options.

       177.   Also, Defendants’ JPA and MPA agreements, a secret pay-for-exclusion

from the class, violate the fundamental notice and informed consent requirements of Rule

23. Either putative class members are within a class or they are not within a class.

Lawyers cannot use private agreements, for their own pecuniary interest, to exclude class

members from the class in advance of class certification, and then say the class members

were never members of the class. It is sleight-of-hand circular reasoning; a fraud upon the

                                             67
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 73 of 142




excluded class members and the courts with supervision over the class. The JPA and

MPA violate Rule 23 in at least four ways: (1) the failure to disseminate notice to the

entire class is an unmistakable violation of Rule 23; (2) class counsel are contractually

precluded from disseminating notice to the entire class, and therefore abdicate their

fiduciary obligation to adequately represent the entire class; (3) the class should be

defined by the defendant’s conduct, in this case Syngenta’s conduct, and the JPA and

MPA arbitrarily removes class members who are subject to the exact same conduct by

Syngenta from the class, merely because Defendants and class counsel contracted

through a back-door agreement that Defendants would not contest class certification and

would pay money to class counsel; and (4) decades of Rule 23 precedent confirm that

mass opt-outs are unenforceable; the opt-out right is inherently individual in nature and,

as such, a group of lawyers like Defendants cannot opt-out a group of putative class

members.

       178.   A Minnesota ethics expert, David Sasseville, who served on the Minnesota

Lawyers Professional Responsibility Board from 2003-09, addressed the ethical failures

of the JPA in a July 30 2015 letter. Commenting on the pay-for-exclusion deal, Sasseville

unequivocally concluded the JPA’s framework violated attorney fiduciary obligations to

clients and Rule 1.7 of the Rules of Professional Responsibility, stating:

              Only in rare and exacting circumstances … do the Rules permit lawyers to
              serve multiple masters, or to undertake client representation that results in
              the dilution of what would otherwise be an absolute duty of undivided
              loyalty to each client.
                                             68
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 74 of 142




              It is my opinion, to a reasonable degree of professional certainty, that
              appointment of the [Watts Guerra group] to a leadership role in the
              Minnesota State Court Syngenta MDL could result in numerous, potential
              conflicts particularly in light of the terms and conditions of the [JPA]…

       179.   In rendering his opinion that Defendants’ use of the JPA violated fiduciary

obligations and ethics norms, Sasseville noted that the JPA requires Defendants to seek

an 11 percent attorney fee and costs assessment as a common benefit fund from each

lawyer with a client participating in the Minnesota litigation, and then transfer 5.5 percent

of this 11 percent (one-half) to the MDL class counsel without a court order or actual

accounting of the work performed in exchange for the money.

       180.   In addition, Sasseville noted that the JPA prohibited Defendants from

objecting to class certification proceedings in the federal MDL as long as Defendants’

clients were excluded from the class. And the JPA directed the MDL class counsel “[t]o

specifically refrain from interfering with or altering the terms and conditions of any fee

agreement with any of [Defendants’] clients.” JPA, pg. 14 ¶ iii (emphasis added); see

also Minnesota MPA at 2(d)(Class Certification)(iii): “The MN MDL Co-Leads will not

seek to interfere with or alter the terms and conditions of any fee agreement with any

Client (e.g., reduce or cap the fee of Participating Counsel or its Co-Counsel, if any).”

Defendants thus bought cover that MDL and Minnesota class counsel and all other

lawyer signatories to the JPA and MPA would not challenge their 40 percent attorney fee

scheme, thus reducing the possibility that a presiding court would cap Defendants’

                                             69
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 75 of 142




contingent fees.

       181.   As a tangent to this litigation, the MDL and Minnesota courts correctly

declined to approve the JPA and MPA when asked by Defendants to approve the

agreements. For example, on no less than two occasions the MDL court declined the

opportunity to “endorse” the JPA. The MDL court said the agreements were private

contractual agreements between lawyers that were not within the Court’s purview. See

Dkt. No. 403 at 16 (“no basis for the Court to interject itself at this time into private

contractual relationships”); Dkt. No. 935 at 8-9 (“[no] requirement or proper reason for

the Court to approve a side agreement [between Defendants and MDL class counsel”).

       182.   However, when the courts approved class notice that automatically

excluded Defendants’ 60,000 clients from the class definition and the obligatory Rule 23

notice and opt-out requirements, the courts erred in accepting Defendants’ sleight-of-

hand claim that Farmers were never part of the class because they were excluded from

the class by the JPA and MPA. The courts accepted Defendants’ claim because they

presumed, in orders approving class notice, that Defendants had satisfied their fiduciary

and ethical obligations to procure informed consent from individual Farmers to be

automatically excluded from the class proceedings. See Memorandum And Order, In re:

Syngenta Litigation, MDL No: 2591 (Nov 23, 2016), Dkt. No. 2703, at p. 2 (emphasis

added):

              [E]conomic incentives exist for counsel who are not part of the leadership
              to procure opt outs in order to pursue a course in which those counsel might
                                              70
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 76 of 142




              be better situated to earn a fee. Much information has been disseminated to
              putative class members in an effort to influence their decisions, some of
              which is at least arguably inaccurate, which reflects those counsel’s zeal.
              To ensure that those who actually may possess a potential claim are in fact
              the decision makers, it is more than reasonable to require that they take the
              very minimal effort required to sign and mail an opt out.

See also Memorandum, In re: Syngenta Litigation, No. 27-CV-15-3785, at p. 10 (Henn.

Cty. Feb. 10, 2017):

              Implicit … is the assumption that the independent counsel for [Defendants’
              clients] will not inform [Defendants’ clients] of their rights. Attorneys owe
              their clients certain duties to communicate and inform … [t]hat duty is
              owed to the client and this Court has no reason or basis to question the
              satisfaction of that duty or usurp that responsibility … [i]n addition,
              attorneys could have discussed the options available to their clients at the
              time of filing an individual claim, deciding which jurisdiction to file in, and
              whether to enter the JPA and/or MPA.

       183.   The MDL and Minnesota courts presumed that Defendants had satisfied

their fiduciary and ethical obligations as the result of Defendants’ material

misrepresentations and omissions. As stated in the JPA at p. 12, ¶ 2(b)(v):

              By including a client on its Excluded Client List, the applicable member of
              the [Defendants’] Group represents and warrants that (1) it believes that it
              is in such client’s best interest to be excluded from the proposed [MDL]
              class and (2) would recommend to such client that he/she/it opt out of the
              proposed class, if such client was included in the applicable class definition
              …
Likewise, the MPA states, at p. 21, ¶2 (b)(v):

              By including a client on its Client List, Participating Counsel represents and
              warrants that (1) it believes that it is in such client’s best interest to be
              excluded from any and all proposed class actions in the Federal MDL or the
              MN MDL and (2) would recommend to such client that he/she/it opt out of
              the proposed class, if such client was included in the applicable class
              definition.
                                             71
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 77 of 142




       184.   No conversations or other communications occurred between Defendants

and Farmers about the JPA and MPA. Defendants did not inform Farmers that despite

their individual lawsuits filed by Defendants in the Minnesota state courts, they were

members of the MDL and Minnesota class actions. Defendants did not inform Farmers of

the terms of the JPA and MPA and the pros and cons of class participation. There was no

discussion about whether it was in the best interest of an individual Farmer to be

excluded from the class actions and no informed consent. Defendants’ misrepresentations

and omissions to the MDL and Minnesota courts violated their fiduciary and ethical

obligations as officers of the court and were a fraud upon the courts and an obstruction of

justice.

       185.   As a consequence of the reliance by the MDL and Minnesota courts on

Defendants’ misrepresentations and omissions, the courts were led to violate Rule 23 by

allowing Defendants’ private pay-for-exclusion agreements, the JPA and MPA, to

supersede Rule 23. Rule 23 does not allow a rhetorical non sequitur by lawyers with a

pecuniary self-interest; that putative members of a class are not putative members of the

class just because their lawyers say so. Rule 23 has no language allowing lawyers to

privately contract away its protections for putative class members. Credulity aside, it is

statistically implausible, if not impossible, that none of the 60,000 Farmers excluded

from the federal MDL and Minnesota classes would refuse to participate in the class

proceedings if they had received honest and ethical advice.
                                             72
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 78 of 142




       186.   But for the courts’ presumption that Defendants were honestly and ethically

advising Farmers about the pros and cons of class participation, as opposed to

Defendants’ “mass tort … individual suit” advertising con, the courts would have

adhered to Rule 23 requirements for all class members, and not just some class members,

and Farmers’ due process and equal protection rights would have been protected.

       187.   Defendants’ misrepresentations and omissions led the courts to impute

notice of class certification to Defendants’ clients through Defendants. However, any

client who happened to see a court-authorized notice of class certification directed to

class members, or received informed communications and consent from Defendants

(which did not occur), would have no recourse if the client wished to participate in the

class; the client had already been excluded by Defendants.

       188.   The fundamental issue is whether private attorneys, representing individual

corn growers, can agree to pay class counsel a portion of their attorneys’ fees to have

their clients excluded from the class definition, and in turn avoid the mandatory Rule 23

court-authorized class notice and opt-out process. The answer is no. More than a half

century ago, the United States Supreme Court mandated that due process requires that

every member of a Rule 23 class receive notice. Mullande v. Central Hanover Bank &

Trust Co., 339 U.S. 306, 313 (1950). Twenty years later, the Supreme Court reaffirmed

this position, unequivocally stating, “[n]otice to identifiable class members is not a

discretionary consideration to be waived in a particular case. It is, rather, an unambiguous

                                             73
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 79 of 142




requirement of Rule 23.” Eisen v. Carlisle and Jacquelin, 417 U.S. 156, 176 (1974)

(emphasis added). Notice exists to vindicate absentee class members’ due process rights

by ensuring they – and they alone – are the final arbiter of whether to participate in the

class. Id. at 175.

G.     Settlement Term Sheet

       189.    Following the June 23, 2017 jury verdict for a class of corn growers in

Kansas, the MDL court, in consultation with the courts in Illinois and Minnesota,

appointed a Plaintiffs’ Settlement Negotiation Committee (“PNC”) of four attorneys to

negotiate a possible global settlement with Syngenta. The committee included

Christopher A. Seeger, a lawyer for corn growers in the MDL, Daniel Gustafson, a

lawyer for the Minnesota class, and Clayton A. Clark and defendant Mikal Watts,

lawyers representing the individual suits (Defendants boast that they filed 90 percent of

the individual suits).

       190.    On September 25, 2017, midway through the Minnesota class trial, the

PNC executed a settlement term sheet with Syngenta for a $1.51 billion settlement. The

settlement was announced to the media as a “global settlement” to cover corn growers’

claims in all the pending class action and individual lawsuits in the United States.

       191.    Although Defendants have never disclosed the term sheet to Farmers, the

term sheet was attached to MDL motion pleadings on March 26, 2018. The term sheet

envisioned a two-prong settlement: a nationwide class action settlement and a separate

                                             74
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 80 of 142




parallel inventory settlement for Defendants’ 60,000 cases filed in Minnesota. According

to Ellen Reisman, Eq., a Special Master for settlement discussions, as she discussed the

term sheet during a December 19, 2017 settlement conference in the MDL court in

Kansas:

              The structure of that term sheet was that there would be one class action
              settlement, perhaps a nationwide one and a separate Minnesota one,
              perhaps just a nationwide one along with a parallel inventory settlement.

       192.   The term sheet established jurisdiction with the MDL court to administer

the national class action settlement, and jurisdiction with the 23rd District Court of

Brazoria County, Texas, to administer the settlement of Defendants’ 60,000 individual

lawsuits.

       193.   It is no surprise that Defendants never disclosed the term sheet to Farmers.

After three years of Defendants’ misuse of the Minnesota judicial system to perpetrate

their “mass tort … individual suit” attorney fee fraud scheme, Defendants shamelessly

negotiated the transfer of Farmers’ lawsuits to a Texas court in Watts Guerra’s backyard,

with no previous connection to the Syngenta litigation, to address Defendants’ 40 percent

contingent fee contracts.

       194.   The transfer of jurisdiction for Defendants’ 60,000 individual lawsuits,

after three years of litigation in the Minnesota courts, apparently was not well-received

by the Hennepin County District Court. A January 11, 2018 email by a disgruntled

lawyer indicates that a “nuclear winter will follow with a (very) uncooperative Judge M.”

                                             75
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 81 of 142




Judge M is presumably the Honorable Laurie J. Miller, the Hennepin County District

Court Judge handling the Minnesota class and Defendants’ 60,000 consolidated

individual lawsuits.

       195.   The parties had difficulty papering the two-prong agreement into a formal

settlement agreement. On December 8, 2017, the parties told the MDL court that they

were continuing to negotiate terms of the agreement for approval by the court. On

December 19, 2017, a settlement conference was held in the MDL court to discuss the

status of the negotiations. The reason for the delay is found in a disclosure by Reisman

during the December 19th settlement conference:

              [I]n mid-October or so I was approached by some of the plaintiffs’ lawyers
              who suggested that if they amongst themselves could work out an
              agreement on how a pot of fees could be divided up percentage-wise among
              the different groups who are participating here then maybe we wouldn’t
              have to go the separate class action route and the inventory route.

       196.   On January 25, 2018, a settlement conference was held in Hennepin County

District Court in Minnesota to discuss the status. Another settlement conference was

scheduled for February 26, 2018 at the federal courthouse in Kansas.

H.     National Class Action Settlement Agreement

       197.   On February 26, 2018, various lawyers including the PNC and Syngenta

and proposed Settlement Class Counsel of Gustafson, Seeger and Patrick J. Stueve, a lead

lawyer for the corn growers in the MDL class action, finalized the term sheet settlement

as a National Class Action Settlement Agreement (“Settlement Agreement”) with a

                                            76
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 82 of 142




payment of $1.51 billion by Syngenta to resolve the class actions and individual claims of

more than 600,000 corn growers across the United States. The two-prong approach in the

term sheet disappeared, with the parties filing a Fourth Amended Class Action Complaint

in the MDL asserting, as the umbrella for the settlement, a Fed. R. Civ. P. 23 class

covering all corn growers in the United States. The Fourth Amended Complaint utilized

for class certification the Lanham Act, 15 U.S.C. §§ 1111 et seq., a federal deception

statute, Minnesota statutory claims under the Prevention Of Consumer Fraud Act, Minn.

Stat. §§ 325F.68-70, and the Uniform Deceptive Trade Practices Act, Minn. Stat. §§

325D.43-48, and various other state statutory and common law claims.

       198.   If the MDL court approves the Settlement Agreement – preliminary

approval, notice to invite objections and final approval – Syngenta will pay $1.51 billion

into a Settlement Fund to pay (1) corn growers (and certain landlords), grain handling

facilities, and ethanol production facilities who submit eligible claims, (2) court-approved

attorneys’ fees and expenses, (3) service awards to certain plaintiffs who helped

prosecute the case, (4) fees of the Special Masters appointed by the courts, and (5) costs

relating to notice and class administration. The amount eligible claimants will receive

depends on the amount of the claimants’ interests in U.S. corn – a pro rata disbursement

of the $1.51 billion for those who file claims with no reversion of any settlement funds to

Syngenta – priced for sale between September 15, 2013, and April 10, 2018, the date of

preliminary approval of the settlement agreement by the MDL court.

                                            77
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 83 of 142




       1.     Attorneys’ Fees And Expenses

       199.   The Settlement Agreement provides at § 7.2.1, in pertinent part:

              As part of the Settlement, Settlement Class Counsel and other counsel
              representing Class Members who performed work for the benefit of Class
              Members shall make Fee and Expense Applications to the Honorable John
              W. Lungstrom of the United State District Court for the District of Kansas
              (MDL court), or the Honorable David R. Herndon of the United States
              District Court for the District of Kansas, or the Honorable Laurie J. Miller
              of the Fourth Judicial District Court, County of Hennepin, State of
              Minnesota for a Fee and Expense Award. …

       200.   The Settlement Agreement provides at § 7.2.2:

              Any Fee and Expense Award in conjunction with this Settlement shall be
              issued by the [MDL] Court, in consultation with and approved by the
              Honorable David R. Herndon … and the Honorable Laurie J. Miller … in a
              written order by the Court and shall be paid from the Settlement Fund. The
              Court’s Fee and Expense Award, however, as set forth above, shall be
              separate from its determination of whether to approve the Settlement. In the
              event the Court approves the Settlement, but denies, in whole or in part, the
              Fee and Expense Applications by Settlement Class Counsel and other
              counsel representing Class Members, the Settlement shall nevertheless be
              binding on the Parties. If the Court declines to approve the Settlement, no
              Fee and Expense Award shall be paid. Syngenta shall have no involvement
              in, nor any liability, with respect to, the allocation and distribution of the
              Fee and Expense Award.

       201.   The Settlement Agreement provides at §§ 7.2.3 and 7.2.3.2 that “[a]s set

forth in Section 9.18.2, disputes arising from the Fee and Expense Award shall be subject

to the jurisdiction of the [MDL] Court, except that:”

              Matters arising from client fee contracts and referring counsel referral
              agreements involving Class Members with claims pending at any time in In
              re Syngenta Class Action, Court File No. 27-CV-15-12625, in the Fourth
              Judicial District, County of Hennepin, State of Minnesota (the “Minnesota
              Plaintiffs”), shall be subject to the jurisdiction of the Honorable Laurie J.
                                            78
CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 84 of 142




         Miller of the Fourth Judicial District, County of Hennepin … For example,
         Judge Miller shall have exclusive and continuing jurisdiction to:
              Approve fee disbursements with respect to all Minnesota Plaintiffs;
                and
              Decide disputes between counsel for various Class Members rising
                out of the representation of any Minnesota Plaintiffs.
         Nothing in this Section is intended to interfere with the claims
         administration process or the allocation process as it relates to the national
         class settlement to be filed before and overseen by the Honorable John W.
         Lungstrom and the United States District Court for the District of Kansas.
         However, it is specifically agreed herein that any dispute as it relates to this
         Section 7.2.3.2 shall be under the exclusive and continuing jurisdiction of
         the Honorable Laurie J. Miller of the Fourth Judicial District Court, County
         of Hennepin, State of Minnesota.

  202.   The Settlement Agreement provides at § 9.18.1:

         Pursuant to the Final Approval Order, and except as provided for in
         Sections 7.2.3 and 9.18.2 of this Agreement, the [MDL] Court shall retain
         continuing and exclusive jurisdiction over the Parties and their counsel, the
         Special Masters, the Notice Administrator, and the Claims Administrator,
         the Settlement Fund and the trustee of the Settlement Fund, and all Class
         Members with respect to the terms of this Agreement, the proper provision
         of all benefits thereunder, and the implementation and enforcement of its
         terms, conditions, and obligations. The terms of this Agreement shall be
         incorporated into the Final Approval Order of the Court, which shall allow
         that Final Approval Order to serve as an enforceable injunction by the
         Court for purposes of the Court’s continuing jurisdiction related to this
         Agreement.

  203.   The Settlement Agreement provides at § 9.18.2, in pertinent part:
         The Court also shall retain exclusive and continuing jurisdiction over the
         Fee and Expense Award; however, as set forth in Section 7.2.2 of this
         Agreement any Fee and Expense Award shall be issued by the Court, in
         consultation with an approved by the Honorable David R. Herndon of the
         United States District Court for the Southern District of Illinois and the
         Honorable Laurie J. Miller of the Fourth Judicial District Court, County of
         Hennepin, State of Minnesota … Moreover, as set forth in Section 7.2.3,the
         Court shall retain jurisdiction over any disputes arising out of or relating to
         the orders of the Court relating to the Fee and Expense Award, except that:
                                        79
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 85 of 142




             … (§ 9.18.2.2 below)

      204.   The Settlement Agreement provides at § 9.18.2.2 (identical to § 7.2.3.2

above):

             Matters arising from client fee contracts and referring counsel referral
             agreements involving Class Members with claims pending at any time in In
             re Syngenta Class Action, Court File No. 27-CV-15-12625, in the Fourth
             Judicial District, County of Hennepin, State of Minnesota (the “Minnesota
             Plaintiffs”), shall be subject to the jurisdiction of the Honorable Laurie J.
             Miller of the Fourth Judicial District, County of Hennepin … For example,
             Judge Miller shall have exclusive and continuing jurisdiction to:
                  Approve fee disbursements with respect to all Minnesota Plaintiffs;
                    and
                  Decide disputes between counsel for various Class Members rising
                    out of the representation of any Minnesota Plaintiffs.
             Nothing in this Section is intended to interfere with the claims
             administration process or the allocation process as it relates to the national
             class settlement to be filed before and overseen by the Honorable John W.
             Lungstrom and the United States District Court for the District of Kansas.
             However, it is specifically agreed herein that any dispute as it relates to this
             Section 7.2.3.2 shall be under the exclusive and continuing jurisdiction of
             the Honorable Laurie J. Miller of the Fourth Judicial District Court, County
             of Hennepin, State of Minnesota.

      2.     Split Jurisdiction

      205.   The Settlement Agreement provides that “Settlement Class Counsel and

other counsel representing Class Members who performed work for the benefit of the

Class Members shall make Fee and Expense Applications” to either the MDL court, the

Illinois court, or the Hennepin County District Court. § 7.2.1. The Settlement Agreement

grants jurisdiction to the Hennepin County District Court over “client fee contracts and

referral counsel agreements” – “[a]pprove fee disbursements [and] [d]ecide disputes

                                            80
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 86 of 142




between counsel” – for Hennepin County District Court File No. 27-cv-15-12625 (the

class action file). §§ 7.2.3 and 7.2.3.2. The Settlement Agreement does not grant

jurisdiction to the Hennepin County District Court over “client fee contracts and referral

counsel agreements” for File No. 27-cv-3875 (Defendants’ 60,000 consolidated

individual lawsuits). Id. With the MDL court retaining ultimate jurisdiction to “issue[] …

any Fee and Expense award,” §§ 7.2.2 and 9.18.2, the MDL court has jurisdiction to

approve fee and expense awards and decide referral fee disputes between Defendants

pertaining to Defendants’ 60,000 consolidated individual lawsuits.

       3.     Undisclosed Joint Prosecution Agreements Showing Trade Of Money
              And Favors

       206.   The Settlement Agreement does not acknowledge the secret Joint

Prosecution Agreements showing a trade of money and favors between Defendants and

class counsel. Defendants have never disclosed to Farmers the money they agreed to pay

MDL and Minnesota class counsel – a share of Farmers’ recovery from Syngenta

(Farmers’ money) – in exchange for (1) the exclusion of Farmers from the class

proceedings, and (2) agreements that class counsel will not contest Defendants’ 40

percent contingent fee contracts with individual farmers. At all times since the inception

of Defendants’ “mass tort … individual suit” attorney fee scam, Defendants placed their

self-dealing financial interests above Farmers’ interests.

       4.     Undisclosed Agreement To Share Fees

       207.   The exclusion of Defendants’ 60,000 individual lawsuits from the
                                             81
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 87 of 142




jurisdictional reach of the Hennepin County District Court, and Watts’ disappearance as

one of the Settlement Class Counsel, and Reisman’s disclosure to the MDL court on

December 19 that the plaintiffs’ lawyers were negotiating a fee-share agreement, all

suggest an undisclosed agreement between Defendants and Settlement Class Counsel on

how the “[Farmers’] pot of fees could be divided up percentage-wise.” An undisclosed

fee share agreement is confirmed by a January 11, 2018 email filed in the MDL on March

26, 2018, Clerk Doc. 3514-4 which states, in pertinent part:

             In NY.

             Had dinner with Karron, Gustafson, Seeger and Stack, and Seeger
             announced that everyone had accepted the 12/4 mediator’s proposal,
             including Clark (who agreed to 15%), and now we’re [Defendants] the only
             obstacle to same.

             Seeger offered us 17.5%.

             Karron, Gustafson, Seeger, and Stack all consider the 9/25K irrelevant but
             for the fact that SYT is out for $1.5B; and, they’ve set up the 1/25
             impromptu hearing to bludgeon us to take 17.5%.

             Per them, Smith is prepared to wire around us and let us try to opt out of
             her national settlement class into the nuclear winter that will follow with a
             (very) uncooperative Judge M.

      208.   Although a fee-share agreement has not been disclosed to Farmers,

Settlement Class Counsel apparently have agreed to give Defendants 17.5 percent of the

attorney fee award by the MDL court to class counsel as a percentage of the gross

common fund. The Settlement Agreement documents indicate that Settlement Class

Counsel may seek a fee award that is 30 percent of the gross common fund – significantly
                                            82
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 88 of 142




more than the typical 10-12 percent for common funds exceeding $1 billion. Defendants’

17.5 percent share of 30 percent of the $1.438 billion designated for corn growers’ claims

could total about $75 million in fees. However, Defendants will then extract additional

fees from each individual Farmer through the submission of Farmers’ claims and the 40

percent contingent fee contract applied to Farmers’ net recovery, an undisclosed double-

dip, which could easily total another $125 million in fees. Farmers may thereby pay $200

million in fees to Defendants for $350-400 million in gross claim payments – a range of

.46 to .58 percent of Farmers’ gross claim recovery.

       5.     Undisclosed Double-Dip

       209.   When Defendants submit Farmers’ claims through the national class action

settlement, Farmers, as class members, will pay two sets of lawyers: (1) class counsel

through a fee award as a percentage of the common fund; and (2) Defendants under the

terms of the individual contingent fee contracts.

       210.   Settlement Class Counsel will seek a percentage of the gross common fund

as it relates to corn growers claims – $1.438 of the $1.51 billion is designated for corn

growers’ claims – for fees and expenses. See Settlement Agreement, § 7.2.1 (“As part of

the Settlement, Settlement Class Counsel and other counsel representing Class Members

who performed work for the benefit of Class Members shall make Fee and Expense

Applications … .”); § 7.2.2 (“Any Fee and Expense Award in conjunction with this

Settlement shall be issued by the Court … and shall be paid from the Settlement Fund.”);

                                             83
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 89 of 142




see also Exhibit 2 to the Settlement Agreement (Claim Form) at p. 2, Part IV (emphasis

added) (“You don’t have to have a lawyer to make a claim.”); Exhibit 3 to Settlement

Agreement (Long-form Notice) at p. 6 (“You are a member of the Settlement Class

certified by the Kansas Federal Court … even if you have already filed your own lawsuit

against Syngenta.”); id. at p. 7 (“Even if you have already filed your own lawsuit or

retained your own attorney, you are a part of the Settlement Class … Additionally, even

if you have previously excluded yourself from a class, you are still a member of the

Settlement Class unless and until you submit a timely, valid request for exclusion from

this Settlement Class.”).

       211.   The result is that attorneys’ fees are paid to class counsel as a percentage of

the gross common fund, with a net distribution of the fund to class members. See

Settlement Agreement, § 10 (attorney fees and expenses will be “deducted from the total

settlement fund before any payments are made.”). A class member who is represented by

a lawyer through a contingent fee contract will then be charged by the lawyer, from the

net claim payment to the class member, the contingent fee. See Settlement Agreement,

Exhibit 3, pp. 17-18, § 24 and § 26 (emphasis added):

              The Court has appointed Daniel E. Gustafson, Christopher A. Seeger, and
              Patrick J. Stueve to represent the Settlement Class. These lawyers are
              referred to as “Settlement Class Counsel.” If you want to be represented by
              your own lawyer, you may hire one at your own expense.

              Settlement Class Counsel will seek up to one-third of the settlement fund as
              attorneys’ fees and reimbursement for [$____] in costs and expenses. The
              Court may award less than these amounts.
                                             84
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 90 of 142




              These fees represent compensation to hundreds of lawyers who participated
              in the litigation against Syngenta, including the lawyers who tried the cases
              in Kansas and Minnesota, and any other lawyers to whom the Court awards
              fees. …

              If you hired and attorney before you received this notice and want to stay in
              the Settlement Class, you should discuss the issue of attorneys’ fees with
              your lawyer.

              If you choose to hire your own lawyer, you will be responsible for that
              lawyer’s fees and expenses.

       212.   Assume class counsel request and receive an award of 10 percent of the

common fund for fees and expenses. This means that every plaintiff who submits a claim

will be assessed an effective 10 percent of their claim for attorneys’ fees and expenses.

Thus, for example, a plaintiff is slotted to receive $90,000 net of class counsel’s 10

percent of fees and expenses. This means the plaintiff’s gross award is $100,000 and

class counsel’s share is $10,000. This $10,000 fee and expense award for class counsel

will be shared by attorneys who provided work and expenses for the class, with fees

shared in proportion to the work performed for the class, or disclosed and appropriate fee

share agreements between lawyers for the class.

       213.   A Farmer in this case, individually represented by Defendants through a

contingent fee contract, will then pay 40 percent of his $90,000, or $36,000, to

Defendants. The Farmer’s final claim recovery is $54,000, with a total fee and expense

charge of $46,000 ($10,000 to class counsel and $36,000 to Defendants). Farmers will

thus be charged a grotesque 46 percent of their gross claim for attorneys’ fees and
                                             85
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 91 of 142




expenses, whereas members of the class who are not represented by lawyers other than

class counsel will be charged 10 percent of their recovery.

       214.   Using the same $100,000 gross award and the same formula, if class

counsel are awarded 30 percent of the common fund as an attorney fee, a possible request

by Settlement Class Counsel based on language in the settlement documents, individual

members of the class will pay 30 percent of their claim payment for fees, whereas

Farmers will pay 58 percent.

       6.     Farmers Are Injured

       215.   Defendants’ 40 percent contingent fee contracts drive their “mass tort …

individual suit” scheme. The secret Joint Prosecution Agreements direct the MDL and

Minnesota class counsel, who are on the PNC and Settlement Class Counsel, “[t]o

specifically refrain from interfering with or altering the terms and conditions of any fee

agreement with any of [Defendants’] clients.” JPA, pg. 14 ¶ iii.

       216.   The MDL court may exercise its inherent authority to cap Defendants’

contracts with individual Farmers. However, the court would have to cap the contracts at

zero to prevent a situation where Farmers are not assessed more fees and expenses than

corn growers represented by class counsel.

       217.   Whatever fees may be sought, and whether the Settlement Agreement

receives a final approval from the MDL court after notice and objections and withstands

appellate scrutiny, has no bearing on the merits of this lawsuit. Farmers are injured by

                                             86
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 92 of 142




Defendants’ deceit and breach of fiduciary duties. Farmers were deprived of the

opportunity to make an informed decision as to whether to pursue an individual claim or

a class action claim without representation by Defendants. Farmers ask the Court to

declare that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

            VIOLATIONS OF MINNESOTA RULES OF PROFESSIONAL
                        CONDUCT FOR LAWYERS

A.     False Advertising

       218.   Minnesota rules on lawyer advertising fall under the broad heading of

“Information about Legal Services” under Rule 7 of the Minnesota Rules of Professional

Conduct (MRPC). Rule 7.1 specifically prohibits materially false or misleading

advertising. A communication is false or misleading if it contains a material

misrepresentation of fact or law, or omits a fact necessary to make the statement

considered as a whole not materially misleading.” This rule governs all communications

about a lawyer’s services, not just advertising. Comment [1], Rule 7.1. The rule’s

comments note that truthful statements can be misleading if facts are omitted, or may

impermissibly create unjustified expectations about results. Comment [2], Comment [3],

Rule 7.1.

       219.   Defendants engaged in materially false and misleading communications
                                            87
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 93 of 142




with Farmers who were deceptively solicited to sign 40 percent contingent fee retainer

contracts with Defendants and secretly excluded by Defendants from pending class

actions against Syngenta in the MDL in Kansas and Minnesota.

B.     Failure To Communicate Honestly With Clients About Litigation Options

       220.   Rule 1.4 of the MRPC directs the lawyer to keep the client “reasonably

informed” of the status of the case and explain the matter to the extent necessary for the

client to make informed decisions. MRPC 1.4(b) (lawyer shall explain matter to allow

client to make reasonably informed decisions); see also MRPC 1.7, 2005-Comment

(defining “informed consent” as the full disclosure of all material facts and an

explanation of risks and alternatives that are available to each affected client); Rule 1.0(c)

of the Model Code (defines a client’s informed consent to litigation options as “the

agreement by a person to a proposed course of conduct after the lawyer has

communicated adequate information and explanation about the material risks of and

reasonably available alternatives to the proposed course of conduct.”). This requires the

lawyer to explain the progress of the litigation so the client will have sufficient

information to be an intelligent participant.

       221.   Defendants failed to communicate honestly with Farmers about their

litigation options by deceptively soliciting Farmers to sign 40 percent contingent fee

retainer contracts and secretly excluding Farmers from pending class actions against

Syngenta in the MDL in Kansas and Minnesota.

                                                88
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 94 of 142




C.     Breach Of Fiduciary Duties

       222.   Rule 1.2(a) of the MRPC requires a lawyer to “abide by a client’s decisions

concerning the objectives of the representation and, as required by Rule 1.4, shall consult

with the client as to the means by which they are to be pursued.” Rule 1.4(a)(1) states that

a lawyer “shall … promptly inform the client of any decision or circumstance with

respect to which the client’s informed consent, as defined in Rule 1.0(f), is required by

these rules” and reasonably keep the client informed about “the means by which the

client’s objections are to be accomplished” and “the status of the matter.” Rule 1.0(f)

states that “[i]nformed consent” denotes the agreement by a person to a proposed course

of conduct after the lawyer has communicated adequate information and explanation

about the material risks of and reasonably available alternatives to the proposed course of

conduct.

       223.   Defendants violated the “informed consent” rules by deceptively soliciting

Farmers to sign 40 percent contingent fee retainer contracts and secretly excluding

Farmers, without their knowledge and consent, from pending class actions against

Syngenta in the MDL in Kansas and Minnesota. Defendants breached their fiduciary

duties by negotiating a two-prong settlement evidenced in the September 25, 2017 term

sheet, with no disclosure to Farmers, with Defendants attempting to transfer jurisdiction

for Farmers’ lawsuits to a Texas county court with no previous connection to the

Syngenta litigation, to address Defendants’ 40 percent contingent fee contracts.

                                            89
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 95 of 142




Defendants breached their fiduciary duties in the Settlement Agreement by failing to

disclose or acknowledge the Joint Prosecution Agreements showing a trade of money and

favors with MDL and Minnesota class counsel, failing to disclose an agreement with

Settlement Class Counsel to share fees, and failing to disclose Defendants’ double-dip of

attorneys’ fees they will assess against Farmers through the submission of Farmers’

claims during claim administration and the 40 percent contingent fee retainer contracts

applied to Farmers’ net recovery. At all times since the inception of Defendants’ “mass

tort … individual suit” attorney fee fraud scheme in 2014 through this very day,

Defendants have placed their self-serving financial interests above Farmers’ interests.

       224.   Rule 1.7 of the MRPC prohibits lawyers from representing multiple clients

when there is a conflict of interest. Upon information and belief, Defendants represented

class members in the MDL and Minnesota class actions, along with the 60,000 Farmers

for whom Defendants filed individual claims in the Minnesota state courts. Defendants

violated conflict of interest rules in negotiating the JPA and MPA joint prosecution

agreements and the September 25, 2017 term sheet settlement agreement secretly

excluding Farmers from the class proceedings, and the Settlement Agreement, because

the class members and Defendants’ individual clients will be subject to different attorney

fee payments under the terms of the Settlement Agreement.

       225.   Rule 1.8(g) of the MRPC addresses aggregate settlements of individual

lawsuits and requires consent to negotiate, disclosure of terms and approval of client); see

                                            90
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 96 of 142




generally American Bar Association (“ABA”) Comm. On Ethics & Prof’l Responsibility

Formal Op. 438 (2006) (aggregate settlement of individual lawsuits requires consent to

negotiate, approval of client and disclosure of terms including proposed fees and method

of payment). Defendants violated Rule 1.8(g) by failing to procure the consent of

individual Farmers to negotiate the September 25, 2017 term sheet settlement and

concealing terms of the two-prong settlement excluding Farmers from the national class

action settlement and transferring jurisdiction of Farmers’ lawsuits to a Texas court with

no previous connection to the Syngenta litigation to address Defendants’ 40 percent

contingent fee contracts.

D.     Unreasonable Fees

       226.   Rule 1.5(a) of the MRPC states in pertinent part, “A lawyer shall not make

an agreement for, charge, or collect an unreasonable fee or an unreasonable amount for

expenses.” Defendants violated Rule 1.5(a) by deceptively soliciting Farmers to sign 40

percent contingent fee retainer contracts and secretly excluding the Farmers, without their

knowledge and informed consent, from pending class actions against Syngenta in the

MDL court in Kansas and Minnesota. Defendants do not disclose that they will employ

their contingent fee contracts to extract additional fees from each class member under the

terms of the Settlement Agreement, with Defendants pursuing a double-dip of attorneys’

fees from Farmers.




                                            91
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 97 of 142




E.     Undisclosed Fee Agreements

       227.   Defendants violate Rule 1.5(a) through the use of the secret JPA to prohibit

class counsel from “interfering with or altering the terms and conditions of any fee

agreement with any of [Defendants’] clients, JPA, pg. 14, ¶ iii, and thereby accomplish

an undisclosed and grotesque double-dip from Farmers’ individual claim payments.

Defendants violate Rule 1.5(e)(2) by entering into fee share agreements with MDL and

Minnesota class counsel and Settlement Class Counsel without Farmers’ knowledge and

consent.

F.     Misconduct

       228.   Rule 4.1 of the MRPC prohibits lawyers from knowingly making a false

statement of fact or law. Rule 8.4(a) of the MRPC prohibits violations or attempts to

violate the Rules of Professional Conduct. Rule 8.4(b) prohibits criminal acts such as

mail and wire fraud and obstruction of justice. Rule 8.4(c) prohibits conduct involving

dishonesty, fraud, deceit, or misrepresentation. Rule 8.4(d) prohibits conduct that is

prejudicial to the administration of justice. Defendants violated Rule 8.4(a) – (d) by

deceptively soliciting Farmers to sign 40 percent contingent fee retainer agreements,

using the U.S. mail and internet and email to procure the signed retainer contracts, and

secretly excluding Farmers, without their knowledge and consent, from class proceedings

against Syngenta in the MDL court in Kansas and Minnesota. Defendants misled the

MDL and Minnesota courts through misrepresentations and omissions to believe that

                                             92
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 98 of 142




Defendants were complying with their fiduciary and ethical obligations to educate

Farmers about their litigation options and gain informed consent from individual Farmers

for exclusion from the class proceedings.

                              MAIL AND WIRE FRAUD
                               18 U.S.C. §§ 1341, 1343

       229.   Defendants conspired and associated with each other to pursue a “mass tort

… individual suit” attorney fee fraud scheme against Farmers, through systemic

fraudulent communications and conduct, to persuade Farmers to sign 40 percent

contingent fee retainer contracts with Defendants to pursue individual lawsuits against

Syngenta. In pursuit of the scheme, Farmers were secretly excluded, without their

knowledge and consent, from participating in class actions against Syngenta in the MDL

in Kansas and Minnesota, where attorney fees are determined by the presiding courts as

fiduciaries for the members of the class. Defendants knowingly devised and participated

in a scheme or artifice to defraud Farmers or to obtain the money or property of farmers

by means of false or fraudulent pretenses, representations, or promises in violation of 18

U.S.C. §§. 1341, 1343

       230.   As set forth with particularity in ¶¶ 72-188 above, Defendants’ “mass tort

… individual suit” attorney fee fraud scheme against Farmers was pursued through a

barrage of television and internet advertising, direct-mail campaigns, and hundreds of in-

person “town hall” community meetings, with affirmative misrepresentations and

omissions of material facts and illusory claims intended to persuade Farmers to sign
                                            93
    CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 99 of 142




Defendants’ 40 percent contingent fee contracts to pursue individual claims. The scheme

included the secret Joint Prosecution Agreements with MDL and Minnesota class

counsel, trading money and favors, in exchange for Farmers’ automatic exclusion from

the class proceedings during the litigation, without their knowledge and consent.

       231.      Defendants’ scheme to defraud is contrary to public policy and fails to meet

or reflect the standards of moral uprightness, fundamental honesty, fair play and

righteous dealings in the general and business life of the decent members of society in

violation of 18 U.S.C. §§ 1341, 1343.

       232.      Defendants could foresee that the interstate wires would be used “for the

purpose of” advancing, furthering, executing, concealing, conducting, participating in or

carrying out the scheme, within the meaning of 18 U.S.C. §§ 1341, 1343.

       233.      In particular, Defendants knew or could foresee that the U.S. mail and

interstate wires would be used to further or facilitate their scheme to defraud by (among

other things):

                 a.     deceptively marketing and soliciting each individual Farmer as a
                        client to pursue an individual lawsuit against Syngenta through the
                        transmission of retainer contracts with a 40 percent contingent fee;

              b.        secretly excluding each individual Farmer, without his/her
                        knowledge and consent, through the Joint Prosecution Agreements,
                        from pending class actions against Syngenta in the MDL court in
                        Kansas and Minnesota;

              c.        misleading the MDL and Minnesota courts, through material
                        misrepresentations and omissions, that Defendants had satisfied their
                        ethical and fiduciary obligations by procuring informed consent
                                               94
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 100 of 142




                       from individual Farmers to be automatically excluded from the MDL
                       and Minnesota class proceedings;

               d.      falsely stating to Farmers through mailed advertisement flyers that
                       “only those who sign up (with Defendants) are eligible to pursue
                       claims”;

               e.      providing deceptive and misleading litigation updates to Farmers
                       while never informing Farmers that they were members of putative
                       class actions in the Kansas MDL and Minnesota and secretly
                       excluded by Defendants from the class action proceedings to
                       accomplish Defendants’ “mass tort … individual suit” attorney fee
                       fraud scheme; and

               f.      failing to acknowledge in the Settlement Agreement the Joint
                       Prosecution Agreements and the exchange of money and favors with
                       MDL and Minnesota class counsel, and an apparent fee share
                       agreement with Settlement Class Counsel, and Defendants’
                       undisclosed intent to procure a double-dip of attorneys’ fees from
                       individual Farmers through the claim administration process and
                       Defendants’ 40 percent contingent fee contracts.

        234.    Defendants, acting singly and in concert, personally or through their agents,

used the U.S. mail and interstate wires or caused the U.S. mail or interstate wires to be used

“for the purpose of” advancing, furthering, executing, concealing, conducting, participating

in, or carrying out a scheme to defraud Farmers within the meaning of 18 U.S.C. §§ 1341,

1343.

        235.    It is not possible for Farmers to plead with particularity all instances of mail

and wire fraud that advanced, furthered, executed, and concealed Defendants’ scheme

because the particulars of many such communications are within the exclusive control and

knowledge of the Defendants and other presently unknown individuals.

                                                95
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 101 of 142




       236.   By way of example, however, Defendants specifically used the U.S. mail or

interstate wires or caused the U.S. mail or interstate wires to deliver each and every false,

deceptive and misleading statement through the internet and advertisements and mailings

described in ¶¶ 72-188 above.

       237.    All of the wire communications described above crossed interstate and

international borders by reason of the technology used to transmit the communications.

Some or all of the communications described above have appeared and continue to appear

on Defendants’ website(s) since the date of their original posting.

       238.   Each and every use of the U.S. mail and interstate wires described above was

committed by the Defendants with the specific intent to defraud Farmers or to obtain the

property of Farmers by means of false or fraudulent pretenses, representations, or promises.

Defendants’ acts of mail and wire fraud in violation of 18 U.S.C. §§ 1341, 1343 constitute

racketeering activity as defined by 18 U.S.C. § 1961(1)(B).

       239.   Farmers justifiably relied on Defendants’ fraudulent representations and

omissions made pursuant to the above-described scheme in that, among other things,

Farmers retained Defendants to represent them in the individual actions against Syngenta,

and were deprived of the opportunity to make an informed decision as to whether to pursue

an individual claim or a class action claim. Farmers are subject to Defendants’ fraudulent

scheme to extract unreasonable attorneys’ fees from the deceived and unknowing Farmers.

       240.   Defendants’ pattern of mail and wire fraud activity was intended to extract

                                              96
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 102 of 142




unreasonable attorneys’ fees from Farmers, as opposed to merely providing the traditional

functions of giving legal advice to Farmers.

                             OBSTRUCTION OF JUSTICE
                              18 U.S.C. §§ 1503, 1512(c)(2)

       241.   Defendants conspired and associated with each other for the purpose of

corruptly endeavoring to influence an officer of a United States court in violation 18

U.S.C. § 1503.

       242.   Defendants also conspired and associated with each other for the purpose of

corruptly obstructing, influencing, and impeding the MDL class action proceedings in

violation of 18 U.S.C. § 1512(c)(2).

       243.   Defendants’ actions were corrupt because they acted knowingly and

dishonestly with the specific intent to subvert or undermine the integrity of a proceeding

in a United States court. In particular, Defendants used the Joint Prosecution Agreement

to mislead the MDL court, through material misrepresentations and omissions, that

Defendants had satisfied their fiduciary and ethical obligations by procuring informed

consent from individual Farmers to be automatically excluded from the MDL class

proceedings during the litigation as set forth in ¶¶ 160-88.

       244.   Said conduct constitutes a knowing and dishonest intent to subvert or

undermine the integrity of the United States courts, and thereby is an obstruction of

justice in violation of 18 U.S.C. §§ 1512(c)(2), 1503.



                                               97
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 103 of 142




                           CLASS ACTION ALLEGATIONS

       245.   The named Plaintiffs bring this class action pursuant to Rule 23 of the

Federal Rules of Civil Procedure in their representative capacity on behalf of themselves

and a class (the “Class” or “Farmers”) of all persons similarly situated, defined as

follows:

              All persons or entities who signed attorney retainer contracts with Watts
              Guerra, LLP and its joint venture partners, for representation in claims,
              suits or other matters arising out of and resulting from economic damages
              sustained from the use of Syngenta GMO products or those products’
              adverse effect on the U.S. corn market.

The class definition may be amended as this litigation proceeds, to include, as defendants,

other law firms and lawyers who are not listed on attorney retainer contracts with Watts

Guerra, LLP, but conspired with Defendants to pursue their “mass tort … individual suit”

attorney fee fraud scheme, and violated fiduciary obligations to Farmers, for financial

benefit.

       246.   Plaintiffs meet the requirements of Rule 23(a) to bring this action on behalf

of the Class because:

A.     Numerosity

       The Class consists of thousands of individuals or entities, about 60,000 corn

growers, according to public information, and is so numerous that joinder of all members

as individual plaintiffs is impracticable.




                                             98
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 104 of 142




B.     Common Questions Of Law And Fact

       247.   There are questions of law and fact common to the Class. Such common

questions include, but are not limited to: (1) whether the approximate 60,0000 individual

clients of Watts Guerra and its joint venture partners, the Farmers who are plaintiffs in

this lawsuit, were deceived by false and misleading advertising and marketing to believe

that Defendants’ “mass tort … individual suit” model for litigation of claims against

Syngenta was superior to class action proceedings pending in the federal MDL in Kansas

and Minnesota; (2) whether Farmers were reasonably informed and agreed to the Joint

Prosecution Agreements which excluded Farmers from the federal MDL and Minnesota

class certification and notice and opt-out proceedings; (3) whether Farmers were

deceived through a fraud of omission and whether Defendants violated their fiduciary and

ethical duties to gain informed consent from individual Farmers for automatic exclusion

from the class proceedings; (4) whether Defendants obstructed justice by misleading the

presiding class action courts that Defendants had complied with their fiduciary and

ethical obligations to gain informed consent from individual Farmers for exclusion from

the class proceedings; (5) whether Farmers were deceived so that Watts Guerra and its

joint venture partners could claim or attempt to claim a 40 percent contingent attorney fee

from each individual Farmer for claims against Syngenta; and (6) whether Farmers

injured by Defendants’ deceptive and fraudulent practices can procure monetary,

equitable and injunctive relief including a forfeiture of Defendants’ compensation for

                                             99
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 105 of 142




Farmers’ Syngenta litigation claims, whether assessed by Defendants against Farmers

through the unlawful and void retainer contracts or court settlement documents.

C.     Typicality

       248.   Plaintiffs’ claims are typical of the claims of the Class.

D.     Adequacy Of Representation

       249.   Plaintiffs will fairly and adequately protect the interests of the Class.

Plaintiffs have no interests that are antagonistic to or in conflict with the interests of the

Class as a whole, and Plaintiffs have engaged competent counsel experienced in class

actions and complex litigation.

E.     Predominance And Superiority

       250.   This action is properly maintainable as a class action for the following

independent reasons and under the following portions of Rule 23:

       251.   The prosecution of separate actions by members of the Class would create a

risk of adjudications with respect to individual members of the Class which would, as a

practical matter, be dispositive of the interests of the other members not parties to the

adjudications, or substantially impair or impede their ability to protect their interests.

Fed. R. Civ. P. 23(b)(1)(B).

       252.   The Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final injunctive, declaratory, or other

appropriate equitable relief with respect to the Class as a whole. Fed. R. Civ. P. 23(b)(2).

                                              100
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 106 of 142




       253.   Questions of law and fact common to members of the Class predominate

over any questions affecting only individual members, and the class action is superior to

other available methods for the fair and efficient adjudication of the controversy. Fed. R.

Civ. P. 23(b)(3).

                                      COUNT I
                          DECLARATORY JUDGMENT ACT
                             28 U.S.C. §§ 2201 AND 2202

       254.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       255.   Farmers request a declaratory judgment under 28 U.S.C. Code, Chapter 151

– Declaratory Judgments, and specifically U.S.C. § 2201, the federal statute authorizing

declaratory relief to construe a contract, and Fed. R. Civ. P. 57, governing the procedure

for obtaining a declaratory judgment. Section 2202 authorizes the Court to assess

equitable relief and statutory damages and penalties for each invalid contract under

authorities such as RICO, 18 U.S.C. § 1961, et seq., the Prevention Of Consumer Fraud

Act, Minn. Stat. §§ 325F.68-70, False Statement In Advertising Act, Minn. Stat. §

325F.67, Uniform Deceptive Trade Practices Act, Minn. Stat. §§ 325D.43-48,

Misconduct by Attorneys/Penalties for Deceit or Collusion, Minn. Stat. §§ 481.071 and

481.07, the Minnesota private attorney general statute, Minn. Stat. § 8.31, and common

law claims of breach of fiduciary duty, fraudulent misrepresentation, negligent

misrepresentation, fraudulent inducement, fraudulent execution, aiding and abetting

                                            101
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 107 of 142




breach of fiduciary obligations and fraud, and civil conspiracy.

       256.   There is an actual case and controversy between the parties. Farmers ask

the Court to declare and enter a judgment that Defendants’ retainer contracts with

Farmers are void ab initio and that Defendants have forfeited their claim to any

compensation from individual Farmers, and that Defendants have waived any quantum

meruit claim against Farmers through their dishonest and unlawful representations and

omissions and conduct.

                                  COUNT II
      RACKETEER INFLUENCED AND CORRUPT ORGANIZATONS ACT
                              FEDERAL RICO
         (Against Mikal C. Watts, Francisco Guerra, and Watts Guerra, LLP)
                             18 U.S. C. § 1962(c)

       257.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       258.   The elements of an 18 U.S. C. § 1962(c) claim are (1) a defendant person;

(2) operating and managing; (3) an enterprise; (4) through a pattern; (5) of racketeering

activity. A civil RICO plaintiff must also prove (6) the plaintiff is injured in its business

or property; (7) by reason of the acts of racketeering. 18 U.S.C. § 1964(c).

A.     Defendants/Enterprises

       259.   Watts and Guerra constitute an “enterprise” within the meaning of 18

U.S.C. §§ 1961(4) & 1962(c), in that they are “a group of individuals associated in fact”

(hereinafter referred to as the “Individual Enterprise”).

                                             102
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 108 of 142




              a.     Watts and Guerra share the common purpose of (among other
                     things) fraudulently and deceptively pursuing a “mass tort …
                     individual suit” attorney fee fraud scheme against corn growers
                     across the United States as addressed in ¶¶ 1-228.

              b.     Watts and Guerra are related in that they are partners in Watts
                     Guerra, LLP and they jointly own or control Watts Guerra, LLP.

              c.     The Individual Enterprise possesses sufficient longevity for Watts
                     and Guerra to carry out their purpose(s) in that the Individual
                     Enterprise has operated since 2014 (at a minimum), continues to
                     operate, and continues to pursue an attorney fee fraud scheme
                     intended to (1) deprive Farmers of the opportunity to make an
                     informed decision as to whether to pursue an individual claim or a
                     class action claim without representation by Watts and Guerra and
                     Watts Guerra, LLP and other lawyers and law firms owned by or
                     controlled by members of the Individual Enterprise, and (2) extract
                     unreasonable attorneys’ fees from the individual Farmers.

Watts and Guerra are each a “person” within the meaning of 18 U.S.C. §§ 1961(3) &

1962(c), who individually conducted, participated in, engaged in, and operated and

managed the affairs of the Individual Enterprise through a pattern of racketeering activity

within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) & 1962(c). Said pattern of

racketeering activity consisted of, but was not limited to, numerous acts of mail and wire

fraud and the obstruction of justice, specifically described in ¶¶ 229-44.

       260.   In the alternative to ¶ 259, Watts Guerra, LLP, as a legal entity, constitutes

an “enterprise” within the meaning of 18 U.S.C. §§ 1961(4) and 1962(c). Watts and

Guerra are each a “person” within the meaning of 18 U.S.C. §§ 1961(3) & 1962(c), who

individually conducted, participated in, engaged in, and operated and managed the affairs

of Watts Guerra, LLP through a pattern of racketeering activity within the meaning of 18
                                            103
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 109 of 142




U.S.C. §§ 1961(1), 1961(5) & 1962(c). Said pattern of racketeering activity consisted of,

but was not limited to, the acts of mail and wire fraud and obstruction of justice,

described in ¶¶ 229-44.

       261.   In addition to the defendants and enterprises alleged in ¶¶ 259-60 above,

Daniel M. Homolka, P.A., Yira Law Office LTD, Hovland & Rasmus, PLLC, Dewald

Deaver P.C., LLO, Givens Law, LLC, Mauro, Archer & Associates, LLC, Johnson Law

Group, Wagner Reese, LLP, VanDerGinst Law, P.C., Patton, Hoversten & Berg, P.A.,

Cross Law Firm, LLC, Law Office of Michael Miller, Pagel Weikum, PLLP, and

Wojtalewicz Law Firm, Ltd., constitute an “enterprise” within the meaning of 18 U.S.C.

§§ 1961(4) & 1962(c), in that they are a group of individuals and legal entities associated

in fact (hereinafter referred to as the “Law Firm Enterprise”).

              a.     The members of the Law Firm Enterprise share the common purpose
                     of (among other things) fraudulently and deceptively pursuing a
                     “mass tort … individual suit” attorney fee fraud scheme against corn
                     growers across the United States as addressed in ¶¶ 1-228.

              b.     The members of the Law Firm Enterprise are related in that they are
                     lawyers and law firms retained by Farmers, they all benefit or seek
                     to benefit from the “mass tort … individual suit” attorney fee fraud
                     scheme, and they were all directly or indirectly solicited by Watts or
                     Guerra or Watts Guerra, LLP to participate in the “mass tort …
                     individual suit” attorney fee fraud scheme.

              c.     The Law Firm Enterprise possesses sufficient longevity for its
                     members to carry out their purpose(s) in that the Law Firm
                     Enterprise has operated since 2014 (at a minimum), continues to
                     operate, and continues to pursue an attorney fee fraud scheme
                     intended to (1) deprive Farmers of the opportunity to make an
                     informed decision as to whether to pursue an individual claim or a
                                            104
     CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 110 of 142




                     class action claim without representation by members of the Law
                     Firm Enterprise, and (2) extract unreasonable attorneys’ fees from
                     the individual Farmers.

Watts, Guerra, and Watts Guerra, LLP are each a “person” within the meaning of 18

U.S.C. §§ 1961(3) and 1962(c), who individually conducted participated in, engaged in,

and operated and managed the affairs of the Law Firm Enterprise through a pattern of

racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c).

Said pattern of racketeering activity consisted of, but was not limited to, numerous acts of

mail and wire fraud, conspiracy to commit mail and wire fraud and the obstruction of

justice, specifically described in ¶¶ 229-44.

       262.   At all relevant times, the enterprises alleged in ¶¶ 259-61 were engaged in,

and their activities affected, interstate commerce.

       263.   At all relevant times, the pattern of mail and wire fraud and obstruction of

justice was intended to extract an unreasonable attorney fee from Farmers, as opposed to

merely providing the traditional functions of giving legal advice to Farmers.

B.     Pattern Of Racketeering Activity

       264.   All of the acts of racketeering described in ¶¶ 229-44 were related so as to

establish a pattern of racketeering activity, within the meaning of 18 U.S.C. § 1962(c), in

that their common purpose is to defraud Farmers of their money; their common and

intended result is to defraud Farmers of money; Watts, Guerra, Watts Guerra, LLP., and

their agents participated in all acts of racketeering; Farmers are the victims or intended

                                             105
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 111 of 142




victims of the acts of racketeering; and the acts are otherwise related by distinguishing

characteristics and were not isolated events.

       265.   All of the acts of racketeering described in ¶¶ 229-44 are continuous so as

to form a pattern of racketeering activity in that Watts and Guerra, directly or indirectly,

have engaged in the predicate acts since 2014 (at a minimum), and the acts of

racketeering are ongoing and will continue until Watts, Guerra and Watts Guerra, LLP

have extracted unreasonable attorneys’ fees from Farmers through an undisclosed fee

share agreement with Settlement Class Counsel and application of their unlawful and

void contingent fee retainer contracts; the acts of racketeering are also the regular way in

which Watts, Guerra and Watts Guerra, LLP do business.

       266.    As a direct and proximate result of, and by reason of, the activities of

Watts, Guerra and Watts Guerra, LLP, and their conduct in violation of 18 U.S.C. §

1962(c), Farmers are injured in their business and property, within the meaning of 18

U.S.C. § 1964(c).

       267.   Farmers are injured by Watts, Guerra and Watts Guerra, LLP’s deceptive

and fraudulent practices as set forth in ¶¶ 72-217 and unlawful and void retainer

agreements regardless whether Farmers pay a 40 percent contingent fee or any fee. The

risk that Farmers may have to pay a 40 percent fee or any fee to Defendants for their

deceptive and fraudulent practices and breach of fiduciary duties and unconscionable

conduct and obstruction of justice is sufficient to justify equitable and injunctive relief,

                                             106
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 112 of 142




pursuant to 18 U.S.C. § 1964(a), including a disgorgement of the profits and forfeiture of

the compensation that Watts, Guerra and Watts Guerra, LLP seek to obtain from Farmers

in the Syngenta litigation claims, whether claimed by Watts, Guerra and Watts Guerra,

LLP against Farmers through the unlawful and void retainer agreements or court

settlement documents.

       268.   Pursuant to 18 U.S.C. § 1964(a), Defendants should also be restrained from

further violating 18 U.S.C. § 1962(c). Farmers request equitable and injunctive relief

including a divestiture of Watts, Guerra and Watts Guerra, LLP’s interests in the

enterprise and forfeiture of compensation for Farmers’ Syngenta litigation claims.

Farmers request monetary damages to the extent that Watts, Guerra and Watts Guerra,

LLP claim and capture any compensation, and treble the forfeited compensation and

monetary damage, pursuant to 18 U.S.C. § 1964(c), and costs and legal fees in the

prosecution of their claims against Watts, Guerra and Watts Guerra, LLP .

                              COUNT III
     RACKETEER INFLUENCED AND CORRUPT ORGANIZATONS ACT
                   FEDERAL RICO CONSPIRACY
             (Against Joint Venture Partners/Conspirators)
                          18 U.S. C. § 1962(d)

       269.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       270.   A conspiracy claim under 18 U.S. C. § 1962(d) requires proof: (1) that

someone violated § 1962(c); (2) that the conspirators agreed to the overall objective of

                                            107
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 113 of 142




the § 1962(c) violation; and (3) that the plaintiff was injured “by reason of” acts of

racketeering. 18 U.S.C. § 1964(c). A § 1962(d) claim extends liability to persons who do

not operate and manage the enterprise or who do not engage in a pattern of racketeering.

       271.   As alleged in Count II, one or more of the following individuals violated 18

U.S.C. § 1962(c): Mikal C. Watts, Francisco Guerra, and/or Watts Guerra, LLP. Any

person who is found to have violated 18 U.S.C. § 1962(c) is hereinafter referred to as an

“Operator/Manager” for the remainder of this Count.

       272.   In this Count, Daniel M. Homolka, P.A., Yira Law Office LTD, Hovland

and Rasmus, PLLC, Dewald Deaver, P.C., LLO, Givens Law, LLC, Mauro, Archer &

Associates, LLC, Johnson Law Group, Wagner Reese, LLP, VanDerGinst Law, P.C.,

Patton, Hoversten & Berg, P.A., Cross Law Firm, LLC, Law Office of Michael Miller,

Pagel Weikum, PLLP, and Wojtalewicz Law Firm, Ltd. are each referred to as

“Conspirator.”

       273.   Each Conspirator intended to or agreed to further an endeavor of the

Operator/Manager(s) which, if completed, would satisfy all of the elements of a

substantive RICO criminal offense, 18 U.S.C. § 1962(c), and adopted the goal of

furthering or facilitating the criminal endeavor.

       274.   Pursuant to the conspiracy in violation of section 1962(d), Farmers are

injured by overt acts that are acts of racketeering or otherwise unlawful under the RICO

statute, which include (among other acts) acts of mail and wire fraud and obstruction of

                                             108
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 114 of 142




justice, as described in ¶¶ 229-44, committed through the enterprises alleged in Count II.

       275.   Farmers are injured by each Conspirator’s deceptive and fraudulent

practices as set forth in ¶¶ 72-217 and unlawful and void retainer agreements regardless

whether Farmers pay a 40 percent contingent fee or any fee. The risk that Farmers may

have to pay a 40 percent fee or any fee to Defendants for their deceptive and fraudulent

practices and breach of fiduciary duties and unconscionable conduct and obstruction of

justice is sufficient to justify equitable and injunctive relief, pursuant to 18 U.S.C. §

1964(a), including a disgorgement of the profits and forfeiture of the compensation that

each Conspirator seeks to obtain from Farmers in the Syngenta litigation claims, whether

claimed by each Conspirator against Farmers through the unlawful and void retainer

agreements or court settlement documents.

       276.   Pursuant to 18 U.S.C. § 1964(a), each Conspirator should also be restrained

from further violating 18 U.S.C. § 1962(c). Farmers request equitable and injunctive

relief including a divestiture of each Conspirator’s interests in the Syngenta litigation

claims and forfeiture of compensation for Farmers’ claims. Farmers request monetary

damages to the extent that each Conspirator claims and captures any compensation, and

treble the forfeited compensation and monetary damage, pursuant to 18 U.S.C. § 1964(c),

and costs and legal fees in the prosecution of their claims against each Conspirator.




                                             109
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 115 of 142




                                COUNT IV
                   PREVENTION OF CONSUMER FRAUD ACT
                         MINN. STAT. §§ 325F.68-70

      277.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

      278.   Minn. Stat. § 325F.69, subdivision 1 provides:

      The act, use, or employment by any person of any fraud, false pretense, false
      promise, misrepresentation, misleading statement or deceptive practice, with the
      intent that others rely thereon in connection with the sale of any merchandise,
      whether or not any person has in fact been misled, deceived, or damaged thereby,
      is enjoinable as provided in section 325F.70.

      279.   The term “merchandise” within the meaning of Minn. Stat. § 325F.69

includes legal services. See Minn. Stat. § 325F.68, subd. 2 (2008).

      280.   Defendants’ conduct described above constitutes multiple, separate

violations of Minn. Stat. § 325F.69, subd. 1. 65. Defendants violated candor and

misrepresented material facts through affirmative misstatements and omissions by

deceptively soliciting Farmers to sign 40 percent contingent fee retainer agreements and

secretly excluding Farmers, without their knowledge and informed consent, from

participating in pending class actions against Syngenta in the MDL court in Kansas and

Minnesota. See supra ¶¶ 72-228. Defendants violated candor and misrepresented material

facts through affirmative misstatements and omissions by misleading the class action

courts to allow Defendants to automatically exclude Farmers from the MDL and

Minnesota class actions, thereby depriving Farmers of due process and the opportunity to

                                           110
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 116 of 142




exercise their individual right to be part of the class or opt-out of it. See supra ¶¶ 160-88.

Defendants violated candor and misrepresented material facts through affirmative

misstatements and omissions by failing to disclose fee share agreements with class

counsel and pursuing efforts to extract an unreasonable fee. See supra ¶¶ 60-228.

       281.   Special circumstances exist such that Defendants’ omission of material

facts was fraudulent. Minnesota courts recognize that an attorney-client relationship is a

fiduciary relationship. Defendants had obligations to honestly market their services and

inform Farmers that they were putative members of the federal MDL class action and

procure informed consent before Farmers were excluded from class participation. At all

times since the inception of Defendants’ “mass tort … individual suit” attorney fee fraud

scheme in 2014 through the present, Defendants have deceptively placed their self-

serving financial interests above Farmers’ interests. See supra ¶¶ 60-228.

       282.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive solicitations and misrepresentations and omissions. The class

action courts relied on Defendants’ misrepresentations and omissions to believe that

Defendants had complied with their fiduciary and ethical obligations to gain informed

consent from individual Farmers for exclusion from the class certification proceedings

and notice and opt-out procedures. Farmers were deprived of the opportunity to exercise

their individual right to be part of the class or opt-out; they were not given court-

approved notice that they were members of the class proceedings nor were they able to

                                             111
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 117 of 142




make their own choice in deciding whether or not to opt out of the MDL and Minnesota

classes. Farmers have been deprived of the opportunity to make an informed decision as

to whether to pursue an individual claim or a class action claim without representation by

Defendants.

       283.   Farmers are injured by Defendants’ deceptive and fraudulent practices. This

lawsuit provides a public benefit to the 60,000 Farmers and all consumers in Minnesota

and across the United States who rely upon an honest and ethical market for legal

services. Through the Minnesota private attorney general statute, Minn. Stat. § 8.31,

Farmers seek all available remedies and equitable relief including a forfeiture of

Defendants’ compensation for Farmers’ claims, whether assessed by Defendants against

Farmers through the unlawful and void retainer agreements or court settlement

documents.

                                 COUNT V
                   FALSE STATEMENT IN ADVERTISING ACT
                            MINN. STAT. § 325F.67

       284.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       285.   Minn. Stat. § 325F.67 (2008) provides, in part, that:

       Any person, firm, corporation, or association who, with intent to sell or in anywise
       dispose of merchandise, securities, service, or anything offered by such person,
       firm, corporation, or association, directly or indirectly, to the public, for sale or
       distribution, or with intent to increase the consumption thereof, or to induce the
       public in any manner to enter into any obligation relating thereto, or to acquire
       title thereto, or any interest therein, makes, publishes, disseminates, circulates, or
                                            112
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 118 of 142




       places before the public, or causes, directly or indirectly, to be made, published,
       disseminated, circulated, or placed before the public, in this state, in a newspaper
       or other publication, or in the form of a book, notice, handbill, poster, bill, label,
       price tag, circular, pamphlet, program, or letter, or over any radio or television
       station, or in any other way, an advertisement of any sort regarding merchandise,
       securities, service, or anything so offered to the public, for use, consumption,
       purchase, or sale, which advertisement contains any material assertion,
       representation, or statement of fact which is untrue, deceptive, or misleading,
       shall, whether or not pecuniary or other specific damage to any person occurs as a
       direct result thereof, be guilty of a misdemeanor, and any such act is declared to be
       a public nuisance and may be enjoined as such.

       286.   Defendants’ conduct described above constitutes multiple, separate

violations of Minn. Stat. § 325F.67. Each of the Defendants have placed before the

public statements that are untrue, deceptive and misleading, with intent to sell or increase

the consumption of services. By failing to disclose and omitting material facts,

Defendants have further made deceptive and fraudulent public statements in violation of

the False Statement in Advertising Act. See supra ¶¶ 60-228.

       287.   Farmers relied on Defendants’ deceptive solicitations and

misrepresentations and omissions. Farmers were deprived of the opportunity to exercise

their individual right to be part of the class or opt-out; they were not given court-

approved notice that they were members of the class proceedings nor were they able to

make their own choice in deciding whether or not to opt out of the MDL and Minnesota

classes. Farmers have been deprived of the opportunity to make an informed decision as

to whether to pursue an individual claim or a class action claim without representation by

Defendants.

                                             113
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 119 of 142




       288.   Farmers are injured by Defendants’ deceptive and fraudulent practices. This

lawsuit provides a public benefit to the 60,000 Farmers and all consumers in Minnesota

and across the United States who rely upon an honest and ethical market for legal

services. Through the Minnesota private attorney general statute, Minn. Stat. § 8.31,

Farmers seek all available remedies and equitable relief including a forfeiture of

Defendants’ compensation for Farmers’ claims, whether assessed by Defendants against

Farmers through the unlawful and void retainer agreements or court settlement

documents.

                               COUNT VI
                 UNIFORM DECPTIVE TRADE PRACTICES ACT
                        MINN. STAT. §§ 325D.43-48

       289.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       290.   Minn. Stat. § 325D.44, subdivision 1 (2008) provides, in part:

       A person engages in a deceptive trade practice when, in the course of business,
       vocation, or occupation, the person:
       (5)    represents that goods or services have … characteristics … benefits …that
              they do not have …
       (7)    represents that goods or services are of a particular standard, quality, or
              grade … if they are of another;
       (8)    disparages the services … of another by false or misleading representation
              of fact …
       (9)    advertises goods or services with intent not to sell them as advertised …
       (13)   engages in any other conduct which similarly creates a likelihood of
              confusion or of misunderstanding.

                                            114
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 120 of 142




       291.   Defendants’ conduct described above constitutes multiple, separate

violations of Minn. Stat. § 325D.44, subd. 1. Defendants have engaged in deceptive

practices by representing that legal services have characteristics and benefits that they do

not have; representing that services are of a particular standard, quality, or grade when

they are of another; disparaging the services of another by false or misleading

representations of fact, advertising services with intent not to sell them as advertised; and

engaging in other conduct which similarly creates a likelihood of confusion or

misunderstanding. See supra ¶¶ 60-228. By failing to disclose and omitting material

facts, Defendants have further engaged in deceptive and fraudulent practices in violation

of the Uniform Deceptive Trade Practices Act. Id.

       292.   Farmers relied on Defendants’ deceptive solicitations and

misrepresentations and omissions. Farmers were deprived of the opportunity to exercise

their individual right to be part of the class or opt-out; they were not given court-

approved notice that they were members of the class proceedings nor were they able to

make their own choice in deciding whether or not to opt out of the MDL and Minnesota

classes. Farmers have been deprived of the opportunity to make an informed decision as

to whether to pursue an individual claim or a class action claim without representation by

Defendants.

       293.   Farmers are injured by Defendants’ deceptive and fraudulent practices. This

lawsuit provides a public benefit to the 60,000 Farmers and all consumers in Minnesota
                                             115
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 121 of 142




and across the United States who rely upon an honest and ethical market for legal

services. Through the Minnesota private attorney general statute, Minn. Stat. § 8.31,

Farmers seek all available remedies and equitable relief including a forfeiture of

Defendants’ compensation for Farmers’ claims, whether assessed by Defendants against

Farmers through the unlawful and void retainer agreements or court settlement

documents.

                                COUNT VII
                        MISCONDUCT BY ATTORNEYS,
                    PENALTIES FOR DECEIT OR COLLUSION,
                       MINN. STAT. §§ 481.071 AND 481.07

       294.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       295.   Minn. Stat. § 481.071 (Misconduct By Attorneys) provides (emphasis

added):

              Every attorney or counselor at law who shall be guilty of any deceit or
              collusion, or shall consent thereto, with intent to deceive the court or any
              party, or who shall delay the attorney's client's suit with a view to the
              attorney's own gain, shall be guilty of a misdemeanor and, in addition to the
              punishment prescribed by law therefor, shall forfeit to the party injured
              treble damages, to be recovered in a civil action.

       296.   Minn. Stat. § 481.07 (Penalties For Deceit Or Collusion) provides

(emphasis added):

              An attorney who, with intent to deceive a court or a party to an action or
              judicial proceeding, is guilty of or consents to any deceit or collusion, shall
              be guilty of a misdemeanor; and, in addition to the punishment prescribed
              therefor, the attorney shall be liable to the party injured in treble damages
                                            116
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 122 of 142




              … recoverable in a civil action.

       297.   Minn. Stat. § 481.071 is an independent cause of action and not just a

remedy. The statute is not a codification of common law fraud but a unique statute of

ancient origin, going back to the First Statute of Westminster, intended to protect the

integrity of the courts and foster their truth-seeking function.

       298.   Minnesota courts misunderstand that § 481.071 is an independent cause of

action and not a codification of common law based on dicta in Smith v. Chaffee, 232

N.W. 515 (Minn. 1930), with no historic or statutory analysis. The Second U.S. Circuit

Court of Appeals and the New York Court of Appeals in Amalfitano v. Rosenberg, 572

F.3d 91 (2nd Cir. 2009), Amalfitano v. Rosenberg, 533 F.3d 117 (2nd Cir. 2008), and

Amalfitano v. Rosenberg, 903 N.E.2d 265, 268 (N.Y. 2009), recognized that New York

Judiciary Law § 483 – the model for the Minnesota legislature in adopting § 481.071 and

with identical language – is an independent cause of action that allows a party to pursue a

claim for treble damages for attorney deceit during a judicial proceeding, even attempted

but unsuccessful deceit.

       299.   The Court for this Class Action Complaint should recognize and follow the

persuasive New York and Second Circuit rulings as applied to § 481.071. See Baker v.

Ploetz, 616 N.W.2d 263, 272 (Minn. 2000) (“[W]hen the [Minnesota] legislature adopted

New York’s penal code by enacting section 481.071 over 100 years ago, it in effect

adopted New York’s interpretation [of the statute].”).

                                             117
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 123 of 142




         300.   Alternatively, Farmers will ask the Court to certify to the Minnesota

Supreme Court under Minn. Stat. § 480.065, subd. 3, whether § 481.071 (Misconduct By

Attorneys) (“to be recovered in a civil action”): (1) is an independent cause of action; (2)

applies to attempted, but unsuccessful, deceit; and (3) whether the treble damage remedy

applies to a forfeiture of an attorney fee. In regard to the third question, the Minnesota

Supreme Court recognized in Gilchrist v. Perl, 387 N.W.2d 412, 419 (Minn. 1986), that

whether the treble damage remedy applies to a forfeiture of a fee is an open question.

With a correct understanding of the historical basis and interpretation § 481.071, as

recognized by the Amalfitano courts – statute applies to attempted, but unsuccessful,

deceit – the Minnesota Supreme Court should surely say yes to that question.

         301.   The Minnesota Supreme Court can then recognize that § 481.07 (Penalties

For Deceit Or Collusion) (“recoverable in a civil action”) is a remedy for deceit or

collusion in the context of an independent claim under § 481.071 or a common law fraud

claim.

         302.   In the interest of pleading in the alternative, Farmers set forth a cause of

action under § 481.071, the essential cause of action for Count VII of this Class Action

Complaint, and 481.07, a remedy for deceit or collusion in the context of § 481.071 or a

common law fraud claim, and both statutes are set forth as a remedy in the request for a

fee forfeiture and monetary damage.

         303.   Defendants deceptively solicited individual Farmers to sign attorney-client

                                               118
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 124 of 142




retainer contracts with a 40 percent contingent fee for claims by each Farmer.

       304.   Defendants secretly excluded each of the individual Farmers, without their

knowledge and informed consent, through Joint Prosecution Agreements, from pending

class actions against Syngenta in the MDL court in Kansas and Minnesota.

       305.   Defendants dishonestly informed the presiding courts, through material

misrepresentations and omissions, that Defendants had satisfied their ethical and

fiduciary obligations by advising individual Farmers as to whether it was in their best

interest to be excluded from the MDL and Minnesota class proceedings, and procuring

informed consent from individual Farmers to be excluded from the class actions.

       306.   Defendants dishonestly informed Farmers through the mail and in direct

solicitations that “only those who sign up (with Defendants) are eligible to pursue

claims.”

       307.   Defendants delivered deceptive and misleading litigation updates to

Farmers, never informing Farmers that they were members of putative class actions in the

MDL and Minnesota and secretly excluded by Defendants from the class action

proceedings to accomplish Defendants’ “mass tort …individual suit” attorney fee fraud

scheme and provide financial gains to Defendants at the expense of the uninformed and

deceived Farmers.

       308.   Language in the Joint Prosecution Agreements prohibits MDL and

Minnesota class counsel and signatories to the agreements from interfering with

                                            119
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 125 of 142




Defendants’ 40 percent contingent fee contracts. This language shows Defendants’

attempt to deceive Farmers to pay a 40 percent fee through an attempt to reduce the

possibility of objections and thereby the possibility that the courts may cap Defendants’

contingent fee contracts at a lower percentage.

       309.   Another example of Defendants’ attempted scheme of deceit is shown

through the effort in the September 25, 2017 settlement term sheet to transfer Farmers’

individual lawsuits, after three years of litigation in the Minnesota courts, to a Texas

court in Watts Guerra’s backyard to address and enforce Defendants’ 40 percent

contingent fee contracts.

       310.   In the Settlement Agreement, Defendants do not acknowledge the Joint

Prosecution Agreements and the exchange of money and favors with MDL and

Minnesota class counsel, and an apparent fee share agreement with Settlement Class

Counsel, and Defendants’ intent to procure a double-dip of attorneys’ fees from

individual Farmers through the claim administration process and Defendants’ 40 percent

contingent fee contracts.

       311.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. The class action courts

relied on Defendants’ misrepresentations and omissions to believe that Defendants had

complied with their fiduciary and ethical obligations to gain informed consent from

individual Farmers for exclusion from the class certification proceedings and notice and

                                             120
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 126 of 142




opt-out procedures. Farmers were deprived of the opportunity to exercise their individual

right to be part of the class or opt-out; they were not given court-approved notice that

they were members of the class proceedings nor were they able to make their own choice

in deciding whether or not to opt out of the MDL and Minnesota classes. Farmers were

deprived of the opportunity to make an informed decision as to whether to pursue an

individual claim or a class action claim without representation by Defendants.

       312.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

forfeiture of Defendants’ compensation for Farmers’ claims against Syngenta, whether

assessed by Defendants against Farmers through the unlawful and void retainer

agreements or court settlement documents, and costs and legal fees in the prosecution of

their claims against Defendants.

       313.   Farmers request monetary damages to the extent that Defendants claim and

capture any compensation, and treble the forfeited compensation and monetary damage,

pursuant to Minn. Stat. §§ 481.071 and 481.07.

                                  COUNT VIII
                           BREACH OF FIDUCIARY DUTY

       314.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       315.   To prevail on a claim for breach of fiduciary duty, the plaintiff must prove:

(1) the existence of a fiduciary duty; (2) a breach of that duty; and (3) damages
                                            121
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 127 of 142




proximately caused by the breach.

       316.   Minnesota courts recognize that an attorney-client relationship is a

fiduciary relationship.

       317.   A fiduciary duty is the highest standard of duty implied by law. Minnesota

law imposes on a fiduciary the highest obligations of good faith, loyalty, fidelity, fair

dealing and full disclosure of material facts affecting the client’s interests. This duty

includes, among other things, a duty to act in the best interests of another. A fiduciary

owes to another the duties of good faith, trust, confidence, and candor.

       318.   Defendants violate their fiduciary obligations and injure Farmers by

deceptively soliciting Farmers to sign 40 percent contingent fee retainer contracts and

secretly excluding Farmers, without their knowledge and informed consent, from

participating in class certification proceedings against Syngenta in the MDL court in

Kansas and Minnesota. See supra ¶¶ 60-228. Defendants violate their fiduciary

obligations to Farmers by misleading the class action courts to allow Defendants to

automatically exclude Farmers from the MDL and Minnesota class actions, thereby

depriving Farmers of due process and the opportunity to exercise their individual right to

be part of the class or opt-out of it. See supra ¶¶ 160-88. Defendants violate their

fiduciary obligations through undisclosed fee share agreements with class counsel and

efforts to extract an unreasonable fee. See supra ¶¶ 160-217.

       319.   A lawyer who breaches his or her fiduciary duty to a client forfeits his or

                                             122
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 128 of 142




her compensation. The client is deemed injured even if no actual loss results.

       320.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. The class action courts

relied on Defendants’ misrepresentations and omissions to believe that Defendants had

complied with their fiduciary and ethical obligations to gain informed consent from

individual Farmers for exclusion from the class certification proceedings and notice and

opt-out procedures. Farmers were deprived of the opportunity to exercise their individual

right to be part of the class or opt-out; they were not given court-approved notice that

they were members of the class proceedings nor were they able to make their own choice

in deciding whether or not to opt out of the MDL and Minnesota classes. Farmers have

been deprived of the opportunity to make an informed decision as to whether to pursue an

individual claim or a class action claim without representation by Defendants.

       321.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.4


       4
        . Farmers do not dispute the quality of Defendants’ work, thereby removing a
requirement for an affidavit of expert review under Minn. Stat. § 544.42, subd. 2(1). Any
lay person and jury member can readily conclude that Defendants’ deceptive solicitations
                                            123
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 129 of 142




                                 COUNT IX
                       FRAUDULENT MISREPRESENTATION

       322.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       323.   The elements of a fraudulent misrepresentation claim are: (1) a false

representation by a party of a past or existing material fact that is susceptible of

knowledge; (2) the person making the misrepresentation made it either with knowledge

of its falsity or as if he or she had knowledge, but without actually knowing whether it

was true or false; (3) the representation was made with the intention to induce another

party to act in reliance on the representation; (4) the representation caused the other party

to act in reliance; and (5) the other party suffered pecuniary damage as a result of that

reliance.

       324.   Silence may also constitute fraud. A failure to speak is actionable if there is

a suppression of facts which one party is under a legal or equitable obligation to

communicate to the other, and which the other party is entitled to have communicated to

him. The Minnesota Supreme Court has identified three “special circumstances” in which

silence may be fraudulent: (1) half-truths which mislead; (2) special knowledge of

material facts to which the other party does not have knowledge; and (3) confidential or



while secretly excluding Farmers, without their knowledge and informed consent, from
participating in class actions against Syngenta, violates the obligations of an attorney to a
client. Nevertheless, attached and served with this Class Action Complaint is an affidavit
of expert review.
                                             124
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 130 of 142




fiduciary relationship.

       325. Defendants violated candor and misrepresented material facts through

affirmative misstatements and omissions by deceptively soliciting Farmers to sign 40

percent contingent fee retainer contracts and secretly excluding Farmers, without their

knowledge and informed consent, from participating in pending class actions against

Syngenta in the MDL court in Kansas and Minnesota. See supra ¶¶ 60-228. Defendants

violated candor and misrepresented material facts through affirmative misstatements and

omissions by misleading the class action courts to allow Defendants to automatically

exclude Farmers from the MDL and Minnesota class actions, thereby depriving Farmers

of due process and the opportunity to exercise their individual right to be part of the class

or opt-out of it. See supra ¶¶ 160-88. Defendants violated candor and misrepresented

material facts through affirmative misstatements and omissions by failing to disclose fee

share agreements with class counsel and pursuing efforts to extract an unreasonable fee.

See supra ¶¶ 160-217.

       326.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

       327.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

                                             125
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 131 of 142




that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

                                  COUNT X
                        NEGLIGENT MISREPRESENTATION

       328.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       329.   The Minnesota Supreme Court and the Restatement (Second) of Torts

describe a negligent misrepresentation as follows:

              One who, in the course of his business, profession, or employment, or in a
              transaction in which he has a pecuniary interest, supplies false information
              for the guidance of others in their business transactions, is subject to
              liability for pecuniary loss caused to them by their justifiable reliance upon
              the information, if he fails to exercise reasonable care or competence in
              obtaining or communicating the information.

       330.   Defendants violated candor and misrepresented material facts through

affirmative misstatements and omissions by deceptively soliciting Farmers to sign 40

percent contingent fee retainer contracts and secretly excluding Farmers, without their

knowledge and informed consent, from participating in pending class actions against

Syngenta in the MDL court in Kansas and Minnesota. See supra ¶¶ 60-228. Defendants

violated candor and misrepresented material facts through affirmative misstatements and

omissions by misleading the class action courts to allow Defendants to automatically

exclude Farmers from the MDL and Minnesota class actions, thereby depriving Farmers

of due process and the opportunity to exercise their individual right to be part of the class

                                             126
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 132 of 142




or opt-out of it. See supra ¶¶ 160-88. Defendants violated candor and misrepresented

material facts through affirmative misstatements and omissions by failing to disclose fee

share agreements with class counsel and pursuing efforts to extract an unreasonable fee.

See supra ¶¶ 160-217.

        331.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

        332.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

                                   COUNT XI
                            FRAUDULENT INDUCEMENT

        333.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

        334.   A claim of fraudulent inducement to enter into a contract is that the

defendant made an intentional action, statement, or omission, the misrepresentation was

material to the decision to enter into a contract, the plaintiff reasonably relied on such

misrepresentation, and the plaintiff suffered some degree of injury, usually economic

harm.
                                             127
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 133 of 142




       335.   Defendants violated candor and misrepresented material facts through

affirmative misstatements and omissions by deceptively soliciting Farmers to sign 40

percent contingent fee retainer contracts and secretly excluding Farmers, without their

knowledge and informed consent, from participating in pending class actions against

Syngenta in the MDL court in Kansas and Minnesota. See supra ¶¶ 60-228. Defendants

violated candor and misrepresented material facts through affirmative misstatements and

omissions by misleading the class action courts to allow Defendants to automatically

exclude Farmers from the MDL and Minnesota class actions, thereby depriving Farmers

of due process and the opportunity to exercise their individual right to be part of the class

or opt-out of it. See supra ¶¶ 160-88. Defendants violated candor and misrepresented

material facts through affirmative misstatements and omissions by failing to disclose fee

share agreements with class counsel and pursuing efforts to extract an unreasonable fee.

See supra ¶¶ 160-217.

       336.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

       337.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

                                             128
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 134 of 142




dishonest representations and omissions and conduct.

                                    COUNT XII
                              FRAUDULENT EXECUTION

       338.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       339.   A claim of fraudulent execution of a contract is that: (1) a party knowingly

misrepresented the character or essential terms of a proposed contract; (2) the party

intended the misrepresentation to induce another to manifest assent to the contract; (3)

the other party neither knew nor had reasonable opportunity to know of the character or

essential terms of the proposed contract; and (4) the misrepresentation caused the other

party to manifest asset to the contract. If fraud in the execution is proved, there is no

contract at all and the contract is void ab initio.

       340.   Farmers’ retainer contracts state that Defendants would advise Farmers

how to proceed with the claim – “in any manner they deem advisable” – and “use their

professional judgment.” Defendants did not provide honest advice and gain informed

consent from Farmers. Defendants did not exercise professional judgment consistent with

fiduciary and ethical obligations as attorneys to clients and officers of the court.

Defendants knowingly misrepresented the reasons for the contract, the terms of the

contract, and the value of the contract to growers, and intended the misrepresentations to

induce Farmers to sign the contract. Farmers did not know and had no reason to know

that they were members of putative class actions in the MDL, represented by class
                                              129
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 135 of 142




counsel. Farmers did not know and had no reason to know that Defendants were pursuing

a “mass tort … individual suit” attorney fee fraud scheme placing Defendants financial

interests above the interests of Farmers. Farmers did not know that Defendants entered

into agreements with MDL and Minnesota class counsel to automatically exclude

Farmers from the class action proceedings, thereby depriving Farmers of their due

process rights to notice and advice as to an individual Farmers’ best interests.

Defendants’ misrepresentations and omissions caused the deceived and unknowing

Farmers to sign 40 percent contingent fee contracts and pursue individual lawsuits when

they were putative members of the MDL class actions represented by class counsel.

       341.   Defendants violated candor and misrepresented material facts through

affirmative misstatements and omissions by deceptively soliciting Farmers to sign 40

percent contingent fee retainer contracts and secretly excluding Farmers, without their

knowledge and informed consent, from participating in pending class actions against

Syngenta in the MDL court in Kansas and Minnesota. See supra ¶¶ 60-228. Defendants

violated candor and misrepresented material facts through affirmative misstatements and

omissions by misleading the class action courts to allow Defendants to automatically

exclude Farmers from the MDL and Minnesota class actions, thereby depriving Farmers

of due process and the opportunity to exercise their individual right to be part of the class

or opt-out of it. See supra ¶¶ 160-88. Defendants violated candor and misrepresented

material facts through affirmative misstatements and omissions by failing to disclose fee

                                             130
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 136 of 142




share agreements with class counsel and pursuing efforts to extract an unreasonable fee.

See supra ¶¶ 160-217.

       342.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

       343.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

                              COUNT XIII
                         AIDING AND ABETTING
              BREACH OF FIDUCIARY OBLIGATIONS AND FRAUD

       344.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       345.   Watts and Guerra and Watts Guerra, LLP and its joint venture partners each

aided and abetted the breach of fiduciary obligations and fraud of each other Defendant

by jointly participating in false advertising and marketing efforts to persuade Farmers that

Defendants’ “mass tort … individual suit” model for litigation of claims against Syngenta

was superior to class action proceedings pending in the federal MDL in Kansas.

       346.   Watts and Guerra and Watts Guerra, LLP provided the talking points on

                                            131
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 137 of 142




how “lawyers will get all the money and the farmers may get a gift certificate” in class

actions. The joint venture partners repeated these false statements verbatim through

internet solicitations and at so-called town-hall meetings throughout the Corn Belt. See

supra ¶¶ 72-188.

       347.   Each Defendant aided and abetted the breach of fiduciary obligations and

fraud of each other Defendant by concealing and never discussing with Farmers the terms

of the Joint Prosecution Agreements automatically excluding Farmers from the MDL and

Minnesota class proceedings. Defendants aided and abetted each other’s deceit to attempt

to extract a 40 percent contingent attorney fee from Farmers for claims against Syngenta

with language in the JPA and MPA prohibiting federal MDL and Minnesota class

counsel from interfering with Defendants’ 40 percent contingent fee contracts. This

language shows Defendants’ coordinated attempt to deceive Farmers into paying a 40

percent contingent fee through an attempt to reduce the possibility of objections and

thereby the possibility that the MDL court may cap Defendants’ contingent fee contracts

at a lower percentage.

       348.   Farmers and the courts relied on Defendants’ fiduciary and ethical

obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

       349.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

                                            132
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 138 of 142




Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

                                      COUNT XIV
                                  CIVIL CONSPIRACY

       350.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       351.   According to Minnesota courts, the elements of civil conspiracy include (1)

an agreement between two or more people to commit an unlawful act or a lawful act by

unlawful means, (2) a tort or criminal act must have occurred, and (3) the plaintiff must

have been hurt or damaged. The essential elements for establishing a case of civil

conspiracy are that the plaintiff must have been injured by a tortuous or criminal act. The

Supreme Court of the United States echoed these elements, holding a plaintiff could bring

suit for civil conspiracy only if he had been injured by an act that was itself tortious.

       352.   Watts and Guerra and Watts Guerra, LLP and its joint venture partners

participated in a civil conspiracy by deceptively soliciting Farmers to sign 40 percent

contingent fee retainer agreements with Defendants and secretly excluding Farmers,

without their knowledge and consent, a fraud of omission, from participating in pending

class actions against Syngenta in the MDL court in Kansas and Minnesota. See supra ¶¶

60-228.

       353.   Farmers and the courts relied on Defendants’ fiduciary and ethical
                                             133
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 139 of 142




obligations and deceptive misrepresentations and omissions. See supra ¶ 320.

       354.   Farmers are injured by Defendants’ deceptive and fraudulent practices and

breach of fiduciary duties and seek all available remedies and equitable relief, including a

declaration that Defendants’ retainer agreements with Farmers are void ab initio and that

Defendants have forfeited their claim to any compensation from individual Farmers, and

that Defendants have waived any quantum meruit claim against Farmers through their

dishonest representations and omissions and conduct.

                   DECLARATORY AND INJUNCTIVE RELIEF

       355.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       356.   Farmers are entitled to declaratory and injunctive relief under the statutory

claims and equitable relief under the common law claims, under the maxim that every

injury has a remedy. A request for declaratory and injunctive relief can always be made

under Fed. R. Civ. P. 23 and Fed. R. Civ. P. 57 in any case in which the plaintiffs and the

class have an ongoing relationship with the defendant that is affected or could be affected

by a policy or practice on the part of the defendant. Farmers also request declaratory

relief under 28 U.S.C. § 2201 which authorizes declaratory relief to construe a contract

and § 2202 which authorizes the Court to provide declaratory and injunctive relief and

assess applicable statutory damages and penalties for each invalid contract under

authorities such as RICO, 18 U.S.C. § 1961, et seq., the Prevention Of Consumer Fraud

                                            134
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 140 of 142




Act, Minn. Stat. §§ 325F.68-70, False Statement In Advertising Act, Minn. Stat. §

325F.67, Uniform Deceptive Trade Practices Act, Minn. Stat. §§ 325D.43-48,

Misconduct by Attorneys/Penalties for Deceit or Collusion, Minn. Stat. §§ 481.071 and

481.07, the Minnesota private attorney general statute, Minn. Stat. § 8.31, and common

law claims of breach of fiduciary duty, fraudulent misrepresentation, negligent

misrepresentation, fraudulent inducement, fraudulent execution, aiding and abetting

breach of fiduciary obligations and fraud, and civil conspiracy.

       357.   Farmers ask the Court to declare that Defendants’ retainer agreements with

Farmers are void ab initio and that Defendants have forfeited their claim to any

compensation from individual Farmers, and that Defendants have waived any quantum

meruit claim against Farmers through their dishonest and unlawful representations and

omissions and conduct.

                               MONETARY DAMAGES

       358.   Farmers incorporate by reference and re-allege all prior paragraphs of this

Class Action Complaint.

       359.   Farmers request a forfeiture of Defendants’ compensation or claimed

compensation for Farmers’ claims against Syngenta, whether assessed by Defendants

against Farmers through the unlawful and void retainer agreements or court settlement

documents, and costs and legal fees in the prosecution of their claims against Defendants.

       360.   Farmers request monetary damages to the extent that Defendants claim and

                                            135
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 141 of 142




capture any compensation, and treble the forfeited compensation and monetary damage,

pursuant to 18 U.S.C. § 1964(c) and Minn. Stat. §§ 481.071 and 481.07.

                                JURY TRIAL DEMAND

       Farmers hereby demand a trial by jury with respect to all issues so triable.

                               REQUEST FOR RELIEF

       1.     An order certifying that this action may be maintained as a class action for

the Class, designating Plaintiffs as the named representatives of the Class, and appointing

Farmers’ counsel to represent the Class.

       2.     Declaring under 28 U.S.C. § 2201 and 2202 that Defendants’ acts and

omissions described in this Class Action Complaint constitute multiple, separate

violations of the Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C.

§ 1961, et seq., Prevention of Consumer Fraud Act, Minn. Stat. §§ 325F.68-70, False

Statement in Advertising Act, Minn. Stat. § 325F.67, Uniform Deceptive Trade Practices

Act, Minn. Stat. §§ 325D.43-48, Misconduct by Attorneys/Penalties for Deceit and

Collusion, Minn. Stat. §§ 481.071 and 481.07, and common law breach of fiduciary duty,

fraudulent misrepresentation, negligent misrepresentation, fraudulent inducement,

fraudulent execution, aiding and abetting breach of fiduciary obligations and fraud, and

civil conspiracy.

       3.     Declaring that Defendants’ retainer agreements with Farmers are void ab

initio and that Defendants have forfeited their claim to any compensation from individual

                                            136
   CASE 0:18-cv-01082-DWF-BRT Document 1 Filed 04/24/18 Page 142 of 142




Farmers, and that Defendants have waived any quantum meruit claim against Farmers

through their dishonest and unlawful representations and omissions and conduct.

       4.    Trebling the forfeited compensation and monetary damage, under RICO’s

civil remedies provision, 18 U.S.C. § 1964(c), and awarding attorney fees under the same

section.

       5.    Trebling the forfeited compensation and monetary damage, under Minn.

Stat. §§ 481.071 and 481.07.

       6.    Awarding civil penalties to Farmers under the applicable laws.

       7.    Awarding Farmers the costs of suit, including costs of investigation and

attorneys’ fees as authorized by 18 U.S.C. § 1964(c) and Minn. Stat. § 8.31, subd. 3a.

       8.    Entering Judgment in favor of Farmers and against Defendants, jointly and

severally, for all forfeited compensation and damages and attorneys’ fees and costs.

       9.    Granting such other and further relief as the Court deems just and equitable.

Dated: April 24, 2018
                                         By: /s/ Douglas J. Nill
                                             Douglas J. Nill (#0194876)

                                         DOUGLAS J. NILL, PLLC
                                         d/b/a FARMLAW
                                         2050 Canadian Pacific Plaza
                                         120 South Sixth Street
                                         Minneapolis, MN 55402-1801
                                         Telephone: (612) 573-3669
                                         Email: dnill@farmlaw.com

                                         Counsel for Plaintiffs and Proposed Class
                                         Of Farmers
                                           137
